Case 2:18-cv-00028-JRG Document 105 Filed 02/07/19 Page 1 of 74 PageID #: 3473




                       THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF TEXAS
                              MARSHALL DIVISION

 BARKAN WIRELESS IP HOLDINGS, §
 L.P.,                          §
                                §
       Plaintiff,               §                  Case No. 2:18-CV-28-JRG
                                §
 v.                             §
                                §
 SAMSUNG ELECTRONICS CO., LTD., §
 ET AL,                         §
                                §
       Defendants.              §

                               CLAIM CONSTRUCTION
                              MEMORANDUM AND ORDER

       Before the Court is the Opening Claim Construction Brief (Dkt. No. 71) filed by Plaintiff

Barkan Wireless IP Holdings, L.P. (“Plaintiff”). Also before the Court are Defendants Samsung

Electronics Co., Ltd., Samsung Electronics America, Inc., and Cellco Partnership d/b/a Verizon

Wireless’s (“Defendants’”) Responsive Claim Construction Brief (Dkt. No. 80), Plaintiffs’ reply

(Dkt. No. 85), and Defendants’ sur-reply (Dkt. No. 89). Further before the Court are Defendants’

Notice of Supplemental Evidence (Dkt. No. 87), Defendants’ Second Notice of Supplemental

Evidence (Dkt. No. 97), and Plaintiff’s Notice of Supplemental Evidence (Dkt. No. 98).

       The Court held a claim construction hearing on January 29, 2019.




                                             -1-
Case 2:18-cv-00028-JRG Document 105 Filed 02/07/19 Page 2 of 74 PageID #: 3474




                                                           Table of Contents


I. BACKGROUND ........................................................................................................................ 3
II. LEGAL PRINCIPLES ............................................................................................................ 4
III. AGREED TERMS.................................................................................................................. 8
IV. DISPUTED TERMS............................................................................................................... 9
   A. “gateway” ............................................................................................................................... 9
   B. “packet-based data network”................................................................................................ 13
   C. “coordination center” ........................................................................................................... 18
   D. “consideration-related policy database” .............................................................................. 24
   E. “route data”........................................................................................................................... 29
   F. “regulating data flow” .......................................................................................................... 33
   G. “a controller adapted to regulate data flow” ........................................................................ 37
   H. “connection regulator adapted to facilitate data flow” ........................................................ 42
   I. “public Internet” .................................................................................................................... 45
   J. “tamper-free hardware” and “tamper-free unit”.................................................................... 49
   K. “transmission power lower than transmission power of conventional base stations” ......... 53
   L. “produces a cell smaller than macrocells of conventional base stations” ............................ 56
   M. “the add-on base station . . . is [owned and] installed by an individual or entity, separate
        and distinct from the telephone service provider, with access to the public Internet” ....... 59
   N. “unique identity bound to a cryptographic key” .................................................................. 62
   O. “transmit recurrent updates” ................................................................................................ 66
   P. “recurrently issuing an operating license” ............................................................................ 68
   Q. “adapted to” ......................................................................................................................... 70
V. CONCLUSION....................................................................................................................... 73




                                                                     -2-
Case 2:18-cv-00028-JRG Document 105 Filed 02/07/19 Page 3 of 74 PageID #: 3475




I. BACKGROUND

          Plaintiff brings suit alleging infringement of United States Patents No. 8,014,284 (“the

’284 Patent”), 8,559,312 (“the ’312 Patent”), and 9,392,638 (“the ’638 Patent”). (See Dkt. No. 71,

Exs. A‒C.) The ’284 Patent, titled “Cellular Network System and Method,” issued on September

6, 2011, and bears an earliest priority date of August 12, 1999. The Abstract of the ’284 Patent

states:

          In a cellular network system, an add-on base station comprising: A. a first channel
          for connecting to a customer’s phone; B. a second channel for connecting to a
          network; C. circuits for connecting the customer’s phone to a destination on the
          network; and D. billing means for collecting a payment for services related to
          connecting the customer’s phone to the network. The customer’s phone may be
          connected through a wireless link. A method to establish a link between a caller
          and an addressee comprising the steps of: A. The caller sends a request to a cellular
          center requesting to connect to a specific addressee, using a message encrypted with
          the public key of the center; B. the center decrypts the message, identifies the caller
          and the addressee; C. the center composes a message for the addressee and encrypts
          it with the public key of the addressee. The message is then sent to base stations;
          D. the base station transmits the message “as is” or in a modified form; E. only the
          designated addressee will be capable to decrypt the message, and will be thus
          notified of the attempted connection.

          The ’312 Patent, titled “Systems, Devices and Methods for Providing Access to a

Distributed Network,” issued on October 15, 2013, and resulted from a continuation of the ’284

Patent. The ’638 Patent, in turn, issued on July 12, 2016. The ’638 Patent is a continuation of the

’312 Patent and bears the same title. Plaintiff submits that the patents-in-suit “share a common

specification.” (Dkt. No. 70, at 1.) 1

          Shortly before the start of the January 29, 2019 hearing, the Court provided the parties with

preliminary constructions with the aim of focusing the parties’ arguments and facilitating

discussion. Those preliminary constructions are noted below within the discussion for each term.


1
 These three patents-in-suit do not all contain identical Figures. Nonetheless, the parties have not
pointed out any relevant differences in the specifications.

                                                   -3-
Case 2:18-cv-00028-JRG Document 105 Filed 02/07/19 Page 4 of 74 PageID #: 3476




II. LEGAL PRINCIPLES

       It is understood that “[a] claim in a patent provides the metes and bounds of the right which

the patent confers on the patentee to exclude others from making, using or selling the protected

invention.” Burke, Inc. v. Bruno Indep. Living Aids, Inc., 183 F.3d 1334, 1340 (Fed. Cir. 1999).

Claim construction is clearly an issue of law for the court to decide. Markman v. Westview

Instruments, Inc., 52 F.3d 967, 970–71 (Fed. Cir. 1995) (en banc), aff’d, 517 U.S. 370 (1996).

       “In some cases, however, the district court will need to look beyond the patent’s intrinsic

evidence and to consult extrinsic evidence in order to understand, for example, the background

science or the meaning of a term in the relevant art during the relevant time period.” Teva Pharms.

USA, Inc. v. Sandoz, Inc., 135 S. Ct. 831, 841 (2015) (citation omitted). “In cases where those

subsidiary facts are in dispute, courts will need to make subsidiary factual findings about that

extrinsic evidence. These are the ‘evidentiary underpinnings’ of claim construction that we

discussed in Markman, and this subsidiary factfinding must be reviewed for clear error on appeal.”

Id. (citing 517 U.S. 370).

       To ascertain the meaning of claims, courts look to three primary sources: the claims, the

specification, and the prosecution history. Markman, 52 F.3d at 979. The specification must

contain a written description of the invention that enables one of ordinary skill in the art to make

and use the invention. Id. A patent’s claims must be read in view of the specification, of which

they are a part. Id. For claim construction purposes, the description may act as a sort of dictionary,

which explains the invention and may define terms used in the claims. Id. “One purpose for

examining the specification is to determine if the patentee has limited the scope of the claims.”

Watts v. XL Sys., Inc., 232 F.3d 877, 882 (Fed. Cir. 2000).




                                                -4-
Case 2:18-cv-00028-JRG Document 105 Filed 02/07/19 Page 5 of 74 PageID #: 3477




        Nonetheless, it is the function of the claims, not the specification, to set forth the limits of

the patentee’s invention. Otherwise, there would be no need for claims. SRI Int’l v. Matsushita

Elec. Corp., 775 F.2d 1107, 1121 (Fed. Cir. 1985) (en banc). The patentee is free to be his own

lexicographer, but any special definition given to a word must be clearly set forth in the

specification. Intellicall, Inc. v. Phonometrics, Inc., 952 F.2d 1384, 1388 (Fed. Cir. 1992).

Although the specification may indicate that certain embodiments are preferred, particular

embodiments appearing in the specification will not be read into the claims when the claim

language is broader than the embodiments. Electro Med. Sys., S.A. v. Cooper Life Sciences, Inc.,

34 F.3d 1048, 1054 (Fed. Cir. 1994).

        This Court’s claim construction analysis is substantially guided by the Federal Circuit’s

decision in Phillips v. AWH Corporation, 415 F.3d 1303 (Fed. Cir. 2005) (en banc). In Phillips,

the court set forth several guideposts that courts should follow when construing claims. In

particular, the court reiterated that “the claims of a patent define the invention to which the patentee

is entitled the right to exclude.” Id. at 1312 (quoting Innova/Pure Water, Inc. v. Safari Water

Filtration Sys., Inc., 381 F.3d 1111, 1115 (Fed. Cir. 2004)). To that end, the words used in a claim

are generally given their ordinary and customary meaning. Id. The ordinary and customary

meaning of a claim term “is the meaning that the term would have to a person of ordinary skill in

the art in question at the time of the invention, i.e., as of the effective filing date of the patent

application.” Id. at 1313. This principle of patent law flows naturally from the recognition that

inventors are usually persons who are skilled in the field of the invention and that patents are

addressed to, and intended to be read by, others skilled in the particular art. Id.

        Despite the importance of claim terms, Phillips made clear that “the person of ordinary

skill in the art is deemed to read the claim term not only in the context of the particular claim in



                                                 -5-
Case 2:18-cv-00028-JRG Document 105 Filed 02/07/19 Page 6 of 74 PageID #: 3478




which the disputed term appears, but in the context of the entire patent, including the

specification.” Id. Although the claims themselves may provide guidance as to the meaning of

particular terms, those terms are part of “a fully integrated written instrument.” Id. at 1315 (quoting

Markman, 52 F.3d at 978). Thus, the Phillips court emphasized the specification as being the

primary basis for construing the claims. Id. at 1314–17. As the Supreme Court stated long ago, “in

case of doubt or ambiguity it is proper in all cases to refer back to the descriptive portions of the

specification to aid in solving the doubt or in ascertaining the true intent and meaning of the

language employed in the claims.” Bates v. Coe, 98 U.S. 31, 38 (1878). In addressing the role of

the specification, the Phillips court quoted with approval its earlier observations from Renishaw

PLC v. Marposs Societa’ per Azioni, 158 F.3d 1243, 1250 (Fed. Cir. 1998):

       Ultimately, the interpretation to be given a term can only be determined and
       confirmed with a full understanding of what the inventors actually invented and
       intended to envelop with the claim. The construction that stays true to the claim
       language and most naturally aligns with the patent’s description of the invention
       will be, in the end, the correct construction.

Phillips, 415 F.3d at 1316. Consequently, Phillips emphasized the important role the specification

plays in the claim construction process.

       The prosecution history also continues to play an important role in claim interpretation.

Like the specification, the prosecution history helps to demonstrate how the inventor and the

United States Patent and Trademark Office (“PTO”) understood the patent. Id. at 1317. Because

the file history, however, “represents an ongoing negotiation between the PTO and the applicant,”

it may lack the clarity of the specification and thus be less useful in claim construction proceedings.

Id. Nevertheless, the prosecution history is intrinsic evidence that is relevant to the determination

of how the inventor understood the invention and whether the inventor limited the invention during

prosecution by narrowing the scope of the claims. Id.; see Microsoft Corp. v. Multi-Tech Sys., Inc.,



                                                 -6-
Case 2:18-cv-00028-JRG Document 105 Filed 02/07/19 Page 7 of 74 PageID #: 3479




357 F.3d 1340, 1350 (Fed. Cir. 2004) (noting that “a patentee’s statements during prosecution,

whether relied on by the examiner or not, are relevant to claim interpretation”).

       Phillips rejected any claim construction approach that sacrificed the intrinsic record in

favor of extrinsic evidence, such as dictionary definitions or expert testimony. The en banc court

condemned the suggestion made by Texas Digital Systems, Inc. v. Telegenix, Inc., 308 F.3d 1193

(Fed. Cir. 2002) that a court should discern the ordinary meaning of the claim terms (through

dictionaries or otherwise) before resorting to the specification for certain limited purposes.

Phillips, 415 F.3d at 1319–24. According to Phillips, reliance on dictionary definitions at the

expense of the specification had the effect of “focus[ing] the inquiry on the abstract meaning of

words rather than on the meaning of claim terms within the context of the patent.” Id. at 1321.

Phillips emphasized that the patent system is based on the proposition that the claims cover only

the invented subject matter. Id.

       Phillips does not preclude all uses of dictionaries in claim construction proceedings.

Instead, the court assigned dictionaries a role subordinate to the intrinsic record. In doing so, the

court emphasized that claim construction issues are not resolved by any magic formula. The court

did not impose any particular sequence of steps for a court to follow when it considers disputed

claim language. Id. at 1323–25. Rather, Phillips held that a court must attach the appropriate

weight to the intrinsic sources offered in support of a proposed claim construction, bearing in mind

the general rule that the claims measure the scope of the patent grant.

       The Supreme Court of the United States has “read [35 U.S.C.] § 112, ¶ 2 to require that a

patent’s claims, viewed in light of the specification and prosecution history, inform those skilled

in the art about the scope of the invention with reasonable certainty.” Nautilus, Inc. v. Biosig

Instruments, Inc., 572 U.S. 898, 910, 134 S. Ct. 2120, 2129 (2014). “A determination of claim



                                                -7-
Case 2:18-cv-00028-JRG Document 105 Filed 02/07/19 Page 8 of 74 PageID #: 3480




indefiniteness is a legal conclusion that is drawn from the court’s performance of its duty as the

construer of patent claims.” Datamize, LLC v. Plumtree Software, Inc., 417 F.3d 1342, 1347 (Fed.

Cir. 2005) (citations and internal quotation marks omitted), abrogated on other grounds by

Nautilus, 134 S. Ct. 2120. “Indefiniteness must be proven by clear and convincing evidence.”

Sonix Tech. Co. v. Publ’ns Int’l, Ltd., 844 F.3d 1370, 1377 (Fed. Cir. 2017).

III. AGREED TERMS

       The parties have submitted the following agreed-upon constructions (Dkt. No. 69, Ex. A;

Dkt. No. 90-1, at 20–30), which the Court adopts:

                      Term                                          Construction

 “an authorization for each respective gateway No construction necessary; plain and ordinary
 to route data”                                meaning.

 (’312 Patent, Claims 35, 52)

 “said gateway is adapted to determine a No construction necessary; plain and ordinary
 physical location of said gateway”      meaning.

 (’312 Patent, Claims 1–3, 14–22)

 “a first interface to the public Internet and a “a first interface to the public Internet and a
 second interface communicably coupled to a second interface coupled for communication
 network of a telephone service provider”        with a network of a telephone service
                                                 provider”
 (’638 Patent, All Claims)

 “authorize and de-authorize add-on base No construction necessary; plain and ordinary
 stations”                               meaning.

 (’638 Patent, All Claims)

 “unique property”                                  No construction necessary; plain and ordinary
                                                    meaning.
 (’638 Patent, Claims 1, 9, 18, 28)




                                               -8-
Case 2:18-cv-00028-JRG Document 105 Filed 02/07/19 Page 9 of 74 PageID #: 3481




 “recurrently      issuing       an    operating No construction necessary; plain and ordinary
 authorization”                                  meaning.

 (’638 Patent, Claims 17–36)

 “periodic/periodically”                           No construction necessary; plain and ordinary
                                                   meaning.
 (’312 Patent, Claims 17, 27, 33, 43, 49)

 “a server of a server system”                     No construction necessary; plain and ordinary
                                                   meaning.
 (’638 Patent, Claims 1, 9, 17, 27)

 “an authorization process used by the No construction necessary; plain and ordinary
 telephone service provider”           meaning.

 (’638 Patent, Claims 7, 15, 25, 35)

 “track the add-on base station based on the No construction necessary; plain and ordinary
 identification”                             meaning.

 (’638 Patent, Claims 1–16, 18, 19, 28, 29)

 “temporarily licenses”                            No construction necessary; plain and ordinary
                                                   meaning.
 (’638 Patent, Claims 26, 36)


IV. DISPUTED TERMS

A. “gateway”

 Plaintiff’s Proposed Construction                 Defendants’ Proposed Construction

 No construction necessary; plain and ordinary A network node (hardware and software) that
 meaning applies.                              permits devices on one network to
                                               communicate with or gain access to the
 Alternatively:                                facilities of another possibly dissimilar
     “entrance/exit to a communications network.
 network”

(Dkt. No. 69, Ex. B, at 11; Dkt. No. 71, at 2; Dkt. No. 80, at 1; Dkt. No. 90-1, at 1.) The parties

submit that this term appears in all Claims of the ’284 Patent, all Claims of the ’312 Patent, and

Claims 1, 9, 17, and 27 of the ’638 Patent. (Dkt. No. 69, Ex. B, at 11; Dkt. No. 90-1, at 3.)

                                                -9-
Case 2:18-cv-00028-JRG Document 105 Filed 02/07/19 Page 10 of 74 PageID #: 3482




         Shortly before the start of the January 29, 2019 hearing, the Court provided the parties with

 the following preliminary construction: “a network device that facilitates communication between

 two or more networks.”

         (1) The Parties’ Positions

         Plaintiff argues that “gateway” has a readily understandable general meaning, and “[e]ach

 independent claim puts the term ‘gateway’ within the context of communications networks—i.e.,

 a network gateway.” (Dkt. No. 71, at 2.) Plaintiff also argues that Defendants’ proposal “has no

 basis in the claims, specification, or intrinsic record,” “introduces various entities and concepts

 that have no basis in the claims,” and “only serves to obfuscate—not clarify—the scope of the

 claims.” (Id., at 3.) Alternatively, “Barkan respectfully submits that the primary definition cited in

 Defendants’ extrinsic evidence should be used: ‘an entrance/exit to a communications network.’”

 (Id.)

         Defendants respond that Plaintiff’s discussion of a technical dictionary contradicts

 Plaintiff’s assertion that jurors will readily understand this term. (Dkt. No. 80, at 1 (citing Dkt. No.

 71, at 2).) Defendants also argue that “Plaintiff’s brief plainly acknowledges the claimed ‘gateway’

 facilitates communications between two networks.” (Dkt. No. 80, at 2 (emphasis added).) Further,

 Defendants note that the technical dictionary definition discussed by the parties’ briefing confirms

 that a “gateway” is a “network node,” and Defendants submit that Plaintiff has not presented any

 evidence to the contrary. (Id., at 3.)

         Plaintiff replies that “the claim language tells the jury what is on each side of the claimed

 gateway,” “[t]he claims already state that the gateways are connected to networks,” and

 “[d]escribing a gateway as either ‘hardware or software’ provides no useful information.” (Dkt.

 No. 85, at 1.)



                                                  - 10 -
Case 2:18-cv-00028-JRG Document 105 Filed 02/07/19 Page 11 of 74 PageID #: 3483




        At the January 29, 2019 hearing, Plaintiff and Defendants presented no oral arguments as

 to this term and instead rested on their briefing.

        (2) Analysis

        Claim 1 of the ’284 Patent, for example, recites (emphasis added):

        1. A gateway to a packet-based data network comprising:
                a transceiver adapted to establish a radio-frequency link with a mobile
        device;
                a first interface adapted to facilitate data flow between the mobile device
        and the packet-based data network; and
                a controller adapted to regulate data flow between the mobile device and
        the data network based, at least partially, on information received over the data
        network from a coordination center, which center is connected to the data network
        through a second interface.

        The gateway recited in the claim thus involves facilitating communications between a

 radio-frequency link and a packet-based data network. As another example, Claim 1 of the ’638

 Patent recites (emphasis added):

        1. An add-on base station comprising:
                a transceiver adapted to establish a radio-frequency link with a mobile
        device;
                a first interface, separate from said transceiver, that is adapted for
        communication over the public Internet;
                a controller adapted to:
                    determine current geographical location data for the add-on
                        base station using a global positioning system (GPS)
                        device included in the add-on base station, wherein the
                        current geographical location data includes location data
                        determined by the GPS device;
                    transmit recurrent updates regarding current operating
                        parameters to a server of a server system via the public
                        Internet, wherein the current operating parameters
                        include current geographical location data and the server
                        system is adapted to identify the base station based on a
                        unique property stored in a tamper-free unit of the add-
                        on base station and to track the add-on base station based
                        on the identification;
                    obtain, from a server of the server system accessed via the
                        public Internet, gateway Internet Protocol (IP) address
                        for a remote gateway that includes a first interface to the

                                                 - 11 -
Case 2:18-cv-00028-JRG Document 105 Filed 02/07/19 Page 12 of 74 PageID #: 3484




                        public Internet and a second interface communicably
                        coupled to a network of a telephone service provider;
                    route, using the gateway IP address, data from the mobile
                        device, over the public Internet, to the remote gateway;
                        and
                    wherein the add-on base station has transmission power
                        lower than transmission power of conventional base
                        stations and produces a cell smaller than macrocells of
                        conventional base stations, and wherein the server
                        system is adapted to authorize and de-authorize add on
                        base stations to route data to the remote gateway through
                        the public Internet by recurrently issuing an operating
                        license for the add-on base station.

        Here, too, the claim contemplates that a “gateway” interfaces with more than one network.

 This understanding is also reinforced by a technical dictionary definition that the parties have

 discussed:

        (1) An entrance/exit to a communications network. Gateways exist between any
        two communications service providers, e.g., between AT&T and the local
        telephone company that provides a connection to a subscriber or between AT&T
        and an international provider.

        (2) A network node (hardware and software) that permits devices on one network
        (LAN) to communicate with or gain access to the facilities of another possibly
        dissimilar network. It can translate the protocols up to the application layer (e.g.,
        ISO/OSI layer 7) of one network type into the corresponding protocols of a different
        network. In addition to protocol translation, it may contain capabilities such as fault
        isolation, rate conversion, or signal conversion necessary to provide system
        interoperability. It also requires that mutually acceptable administrative procedures
        be established among the interconnected networks.

 (Dkt. No. 71, Ex. J, Hargrave’s Communications Dictionary 228 (SAMSUNG-0026301) 2; see

 Dkt. No. 80, Ex. 1, Lifewire: What is a Default Gateway in Networking (Feb. 15, 2018)

 (SAMSUNG-0026556) (“A default gateway is used to allow devices in one network to

 communicate with devices in another network. . . . An easier way to understand a default gateway



 2
   The parties have not provided a year of publication for this dictionary, but this exhibit has been
 cited by both sides.

                                                - 12 -
Case 2:18-cv-00028-JRG Document 105 Filed 02/07/19 Page 13 of 74 PageID #: 3485




 might be to think of it as an intermediate device between the local network and the internet.”).)

 Indeed, even Plaintiff’s own opening brief states that “the add-on base stations themselves are

 gateways, as they comprise an interface between two networks.” (Dkt. No. 71, at 2 (emphasis

 added).)

        Plaintiff’s proposal that a “gateway” can be merely an “entrance/exit to a communications

 network,” although based on a portion of the above-reproduced dictionary definition, is therefore

 overbroad when read out of context. Defendants’ proposed construction, by contrast, is consistent

 with the above-discussed evidence. Nonetheless, Defendants’ proposal of “hardware and

 software” would tend to confuse rather than clarify the scope of the claims. Instead, the

 construction need only clarify what the parties already essentially agree upon, namely that a

 “gateway” is a part of a network that facilitates communication between networks. As to

 Defendants’ proposal of “possibly dissimilar,” this possibility is readily encompassed simply by

 not including any similarity requirement in the construction.

        The Court therefore hereby construes “gateway” to mean “a network device that

 facilitates communication between two or more networks.”

 B. “packet-based data network”

  Plaintiff’s Proposed Construction                   Defendants’ Proposed Construction

  an IP network, such as the Internet, used to network carrying groups of data, control, error
  transfer packets of data between a sender and a control, and sequence information arranged in
  recipient                                       a specific format suitable for transmission
                                                  across the network, including but not limited to
                                                  an IP network or the Internet

 (Dkt. No. 69, Ex. B, at 7‒8; Dkt. No. 71, at 3; Dkt. No. 80, at 3; Dkt. No. 90-1, at 3.) The parties

 submit that this term appears in all Claims of the ’284 Patent and all Claims of the ’312 Patent.

 (Dkt. No. 69, Ex. B, at 7‒8; Dkt. No. 90-1, at 4.)



                                                - 13 -
Case 2:18-cv-00028-JRG Document 105 Filed 02/07/19 Page 14 of 74 PageID #: 3486




        Shortly before the start of the January 29, 2019 hearing, the Court provided the parties with

 the following preliminary construction: “a network that transfers packets of data from a sender to

 a recipient.”

        (1) The Parties’ Positions

        Plaintiff submits that its proposed construction is supported by the specification and by the

 prosecution history. (Dkt. No. 71, at 4‒5.) Plaintiff also argues that Defendants’ proposal “seeks

 to add a mishmash of unrelated limitations to the network that are never mentioned in the intrinsic

 evidence” and “would arguably encompass networks that are not even packet-based—such as the

 circuit-switched networks explicitly distinguished in the ’284 prosecution history.” (Id., at 5.) 3

        Defendants respond that “[t]he claim language is not limited to IP networks,” and

 Defendants submit that “[p]acket-based networks that were not IP networks—such as X.25 packet-

 based data networks—were well-known at the time of the Asserted Patents.” (Dkt. No. 80, at 3–

 4.) Defendants also argue that neither the specification nor the prosecution history contains any

 disclaimer or other support for limiting “packet-based” to “IP.” (Id., at 4.) 4

        Plaintiff replies that “Defendants’ construction is wrong because it references not packets

 (the claim term), but ‘groups of data’; and because networks transmitting only such ‘groups of

 data’—such as circuit-switched networks—were squarely distinguished in the ’284 prosecution




 3
   Plaintiff has also cited its own recent statements in Inter Partes Review (“IPR”) proceedings, but
 those statements do not significantly affect the Court’s analysis in the present claim construction
 proceedings. (See Dkt. No. 71, Ex. N, Sept. 10, 2018 Patent Owner’s Preliminary Response Under
 37 C.F.R. § 42.107 to Petition for Inter Partes Review of U.S. Patent No. 8,014,284, at 11‒12 &
 18‒19.)
 4
   Defendants have also submitted a recent Decision in IPR proceedings as to the ’284 Patent in
 which the Patent Trial and Appeal Board (“PTAB”) “disagree[d] with Patent Owner’s suggestion
 that ‘packet-based data network’ should be limited to an IP network such as the Internet.” (Dkt.
 No. 87, Ex. A, Jan. 8, 2019 Decision Instituting Inter Partes Review, at 22.)

                                                 - 14 -
Case 2:18-cv-00028-JRG Document 105 Filed 02/07/19 Page 15 of 74 PageID #: 3487




 history.” (Dkt. No. 85, at 1.) Plaintiff also argues that “Defendants’ construction is too narrow

 because it adds protocol limitations (control, error, and sequencing) that do not appear in the

 intrinsic evidence.” (Id., at 1.)

         At the January 29, 2019 hearing, Plaintiff and Defendants presented no oral arguments as

 to this term and instead rested on their briefing.

         (2) Analysis

         Claim 1 of the ’284 Patent, for example, recites (emphasis added):

         1. A gateway to a packet-based data network comprising:
                 a transceiver adapted to establish a radio-frequency link with a mobile
         device;
                 a first interface adapted to facilitate data flow between the mobile device
         and the packet-based data network; and
                 a controller adapted to regulate data flow between the mobile device and
         the data network based, at least partially, on information received over the data
         network from a coordination center, which center is connected to the data network
         through a second interface.

         The specification discloses that “an IP network” is an example of a relevant network, and

 the specification further identifies “the Internet” as an example of “an IP network”:

         An existing network may include, for example, an IP network, such as the Internet,
         or Internet over cables, or a wired telephone network. Voice communication may
         be conducted in a voice over IP method using a known technology. Basically, the
         voice is digitized, sometimes compressed, and cut into packets of data.

         The packets are sent over an IP network to their destination.

         ***

         Any person or firm or other entity that has a telephone line (a connection to network
         23) can buy an add-on base station 41 and connect it to the phone line, to create a
         new cell in the communication network. Thus, the public, on their own initiative,
         may add wireless cells to the network.

         Thus, our box achieves the function of a cellular base station in a distributed cellular
         network. It is also a microcenter for routing calls, as detailed below.




                                                  - 15 -
Case 2:18-cv-00028-JRG Document 105 Filed 02/07/19 Page 16 of 74 PageID #: 3488




        The owner of the box connects it to an IP network to expand the existing cellular
        infrastructure—now a user can connect through the new base station to an Internet,
        to establish a link with a remote user.

        It is assumed that all new base stations are connected to an Internet, since it is in
        widespread use. A user may connect to an Internet in various ways, for example
        using a telephone line, a cable TV channel, wireless links etc.

 ’284 Patent at 4:4‒10 & 4:38‒53 (emphasis added); see id. at 5:12–14 (“[N]ew base station 43

 adds a new wireless cell in a location where there is available a link to an Internet network 24.”),

 12:41–49 (“[mobile] [u]ser 11 communicates with new base station 43, that is connected to an

 Internet network 24”) & 14:34–39 (“A new base station 42 connects (bridges) between an Internet

 network 24 and the existing telephone network 23 . . . .”).

        Also, during prosecution, the patentee stated that “all the pending claims recite regulating

 access to a packet-based network (e.g. the Internet).” (Dkt. No. 71, Ex. D, Dec. 16, 2010

 Amendment, at 11 (BARKAN-00000356) (p. 8 of 39 of Dkt. No. 71-6) (emphasis modified).) The

 patentee argued that “the cited references generally teach cellular networks, which are digital and

 data based, but are circuit switched.” (Id. (emphasis modified).) The patentee thus referred to “the

 Internet” merely as an example and used the term “packet-based data network” to distinguish

 circuit-switched networks.

        Thus, the intrinsic evidence does not limit the term “packet-based data network” to

 necessarily being an “IP network.” Further, the extrinsic definitions cited by the parties as to

 “packet switching network” do not limit such networks to “IP” networks. (Dkt. No. 80, Ex. 2,

 Newton’s Telecom Dictionary 443 (11th ed. 1996) (SAMSUNG-0038120) (defining “Packet

 Switching Network” as “A network designed to carry data in the form of packets”).) Defendants




                                                - 16 -
Case 2:18-cv-00028-JRG Document 105 Filed 02/07/19 Page 17 of 74 PageID #: 3489




 have also submitted extrinsic evidence that an “IP network” is merely a particular type of “packet-

 based” network. 5 The Court therefore rejects Plaintiff’s proposal of “IP network.” 6

        The remaining dispute is whether the constituent term “packet” requires construction.

 Defendants have cited a technical dictionary that defines “packet” as: “A group of data, control,

 error control, and sequence information arranged in a specific format suitable for transmission as

 a single unit across a network.” (Dkt. No. 71, Ex. J, Hargrave’s Communications Dictionary 380

 (SAMSUNG-0026303). 7)

        Another technical dictionary definition submitted by Defendants defines “packet” slightly

 differently as: “A bundle of data, usually in binary form, organized in a specific way for

 transmission. Three principal elements are included in the packet: 1. Control information —

 destination, origin, length of packet, etc., 2. the data to be transmitted and 3. error detection and

 correction bits.” (Dkt. No. 80, Ex. 2, Newton’s Telecom Dictionary 443 (11th ed. 1996)

 (SAMSUNG-0038120).)


 5
   Defendants’ expert has opined: “Packet-based data networks other than IP networks were known
 at the time of the Barkan patents. For example, X.25 networks, which existed before the IP protocol
 was defined, are another type of packet-based data network that was widely known in the
 communications field at the time of the Barkan patents. X.25 networks, like IP networks, are
 packet-switched networks rather than circuit-switched networks.” (Dkt. No. 80-13, Dec. 21, 2018
 Lanning Decl. at ¶ 27.)
 6
   Plaintiff has also argued that Defendants’ opposition to “IP network” is inconsistent with
 Defendants’ proposed construction for “consideration-related policy database” (which Defendants
 argue must be “on the Internet”).       No inconsistency is apparent, however, because
 Defendants’ proposal of “on the Internet” is based on prosecution history statements by the
 patentee as to the term “consideration-related policy database.” Also, for example, the recital in
 Claim 4 of the ’284 Patent of “information received over the data network from a consideration-
 related policy database” does not require that “the data network” is the only relevant network.
 Instead, receiving information from the consideration-related policy database could require
 transferring data over the Internet as well as over “the data network.” In other words, Plaintiff has
 not shown that the Internet and “the data network” would necessarily be one and the same network.
 7
   The parties have not provided a year of publication for this dictionary, but this exhibit has been
 cited by both sides.

                                                - 17 -
Case 2:18-cv-00028-JRG Document 105 Filed 02/07/19 Page 18 of 74 PageID #: 3490




        On balance, Defendants have failed to demonstrate that the constituent term “packet”

 requires any construction, and Defendants’ proposal as to the meaning of “packet” would tend to

 confuse rather than clarify the scope of the claims, particularly as to the meaning of “groups.”

 Instead, the substantive dispute between the parties can be resolved by a construction that rejects

 Plaintiff’s proposal of limiting “packet-based data network” to necessarily being an “IP network.”

 In so finding, the Court also hereby expressly finds that this disputed term does not encompass a

 circuit-switched network, as the parties appear to agree and as confirmed by the above-discussed

 prosecution history.

        The Court therefore hereby construes “packet-based data network” to mean “a network

 that transfers packets of data from a sender to a recipient.”

 C. “coordination center”

  Plaintiff’s Proposed Construction                  Defendants’ Proposed Construction

  center that provides information over the one or more computers that coordinates the
  packet-based data network required for operation of add-on base stations* and
  making a call                             determines and disseminates a price policy to
                                            add-on base stations

                                                     *The term “add-on base stations” rather than
                                                     the term “gateway” used in the ’284 patent and
                                                     ’312 patent claims is used to avoid confusion
                                                     with the term “remote gateway” that appears in
                                                     certain ’312 patent claims


 (Dkt. No. 69, Ex. B, at 1; Dkt. No. 71, at 5; Dkt. No. 80, at 5; Dkt. No. 90-1, at 4–5.) The parties

 submit that this term appears in all Claims of the ’284 Patent and in Claims 2 and 4‒55 of the ’312

 Patent. (Dkt. No. 69, Ex. B, at 1; Dkt. No. 90-1, at 5.)




                                                 - 18 -
Case 2:18-cv-00028-JRG Document 105 Filed 02/07/19 Page 19 of 74 PageID #: 3491




         Shortly before the start of the January 29, 2019 hearing, the Court provided the parties with

 the following preliminary construction: “center that provides information required for making a

 call and that determines and disseminates a price policy.”

         (1) The Parties’ Positions

         Plaintiff argues that its proposal is consistent with surrounding claim language, the

 specification, and the prosecution history. (Dkt. No. 71, at 6.) Plaintiff also argues that Defendants’

 proposal is “nonsensical” because “the claim language nowhere requires that the coordination

 center must ‘operate’ the base stations” and because “the claim language, specification, and

 prosecution histories do not require that the coordination center determine or disseminate a pricing

 policy.” (Id., at 7.)

         Defendants respond that “coordination center” is a coined term that has no commonly

 understood meaning and is described in the specification as novel, and “[t]he specification

 repeatedly and unequivocally states that the new coordination center (cellular center 3) determines

 and disseminates the price policy.” (Dkt. No. 80, at 6.) Defendants also argue that Plaintiff’s

 interpretation is inconsistent with prosecution history. (Id., at 8.) 8

         Plaintiff replies that “Defendants are wrong that coordination center (also called a ‘cellular

 center’ or ‘center’ in the specification) is a ‘coined term,’ as such known centers were merely

 adapted for the invention.” (Dkt. No. 85, at 2 (citations omitted).) Alternatively, Plaintiff argues

 that “[t]he pricing policy is a potential responsibility, not a mandatory one.” (Id.)

         At the January 29, 2019 hearing, the parties presented oral arguments as to this term.


 8
   Defendants have also submitted a recent Decision in IPR proceedings as to the ’284 Patent in
 which the PTAB stated: “At this stage in the proceeding, we determine the claim language itself,
 read in context with the specification, is sufficiently clear for the purposes of this Decision, and
 we decline to formally interpret ‘coordination center.’” (Dkt. No. 87, Ex. A, Jan. 8, 2019 Decision
 Instituting Inter Partes Review, at 24.)

                                                  - 19 -
Case 2:18-cv-00028-JRG Document 105 Filed 02/07/19 Page 20 of 74 PageID #: 3492




        (2) Analysis

        Plaintiff has submitted that the patentee introduced this disputed term by amendment

 during prosecution to require information sent from a “coordination center” to the controller “over

 the data network.” (See Dkt. No. 71, Ex. D, Dec. 16, 2010 Amendment, at 2‒5 (BARKAN-

 00000347‒50) & 10‒12 (BARKAN-00000355‒57) (pp. 27‒28 of 28 of Dkt. No. 71-5 & pp. 1‒2

 & 7‒9 of 39 of Dkt. No. 71-6).)

        Claim 1 of the ’284 Patent, for example, recites (emphasis added):

        1. A gateway to a packet-based data network comprising:
                a transceiver adapted to establish a radio-frequency link with a mobile
        device;
                a first interface adapted to facilitate data flow between the mobile device
        and the packet-based data network; and
                a controller adapted to regulate data flow between the mobile device and
        the data network based, at least partially, on information received over the data
        network from a coordination center, which center is connected to the data network
        through a second interface.

        The claim thus explicitly recites “information received over the [packet-based] data

 network from a coordination center,” so Plaintiff’s proposal of “over the packet-based data

 network” is unnecessary. The other claims here at issue are similar in this regard. See, e.g., ’312

 Patent at Cl. 2 (“wherein said gateway is further adapted to report its physical location to a

 coordination center via the packet based data network”) (emphasis added).

        As to Defendants’ proposed construction, Plaintiff has argued claim differentiation based

 on dependent Claims 4, 11, and 19 of the ’284 Patent, which recite information from a

 “consideration-related policy database,” and the parties agree that “consideration” in this context

 refers to billing. For example, Claim 4 of the ’284 Patent recites (emphasis added):

        4. The gateway according to claim 1, wherein said controller is further adapted to
        regulate data flow between the mobile device and the data network based, at least
        partially, on information received over the data network from a consideration-
        related policy database.

                                               - 20 -
Case 2:18-cv-00028-JRG Document 105 Filed 02/07/19 Page 21 of 74 PageID #: 3493




        Because dependent Claims 4, 11, and 19 recite additional limitations beyond the

 “consideration-related policy database,” the doctrine of claim differentiation is of limited weight

 here. See Wenger Mfg., Inc. v. Coating Mach. Sys., Inc., 239 F.3d 1225, 1233 (Fed. Cir. 2001)

 (“Claim differentiation, while often argued to be controlling when it does not apply, is clearly

 applicable when there is a dispute over whether a limitation found in a dependent claim should be

 read into an independent claim, and that limitation is the only meaningful difference between the

 two claims.”) (emphasis added). Also, even Plaintiff’s own proposed interpretation of

 “consideration-related policy database” (discussed below) refers to storing rather than to

 determining and dissemination.

        Defendants have urged that “coordination center” is a coined term that has had no

 established meaning in the relevant art. (See Dkt. No. 80-13, Dec. 21, 2018 Lanning Decl., at

 ¶¶ 28–29.) The specification is consistent with Defendants’ position, disclosing that “[u]nlike

 presently used cellular centers, the center 3 of the novel network does not need to carry the role

 of a switchboard.” ’284 Patent at 7:28–30 (emphasis added). Plaintiff has not shown otherwise.

 Although Plaintiff has cited disclosure regarding “presently used cellular centers” (’284 Patent at

 7:28–30; see id. at 6:7–36 & 6:51–60), Plaintiff has presented no evidence of any well-known

 meaning of “coordination center” in the relevant art.

        The Court therefore turns to the specification because “terms coined by the inventor are

 best understood by reference to the specification.” Intervet Inc. v. Merial Ltd., 617 F.3d 1282, 1287

 (Fed. Cir. 2010); accord Indacon, Inc. v. Facebook, Inc., 824 F.3d 1352, 1357 (Fed. Cir. 2016)

 (“terms [that] have no plain or established meaning to one of ordinary skill in the art . . . ordinarily

 cannot be construed broader than the disclosure in the specification”); Irdeto Access, Inc. v.




                                                  - 21 -
Case 2:18-cv-00028-JRG Document 105 Filed 02/07/19 Page 22 of 74 PageID #: 3494




 EchoStar Satellite Corp., 383 F.3d 1295, 1300 (Fed. Cir. 2004) (“absent . . . an accepted meaning

 [in the art], we construe a claim term only as broadly as provided for by the patent itself”). 9

        The specification discloses:

        A novel approach uses a cellular coordination center 3 that does not perform the
        actual call switching. Rather, the new center 3 just provides the information
        required for making a call. Center 3 (or a network of such centers) stores
        information regarding the various base stations, their location and coverage,
        availability and connections. When a user places a call, he demands information
        from center 3. Center 3 provides the required information for placing a call,
        including a base station close to the desired destination and more, as detailed below.

        After providing the information to the caller, center 3 does not participate in the
        actual call routing; rather, this is performed by the caller, using the existing
        network infrastructure.

 ’284 Patent at 6:51‒64 (emphasis added); see id. at 3:13‒15 & 6:7‒12 (similar). Defendants have

 also noted disclosure that “[t]he new center 3 coordinates the operation of the new base stations

 . . . .” Id. at 7:31–33 (emphasis added).

        Nonetheless, Defendants’ proposal of “coordinates the operation” might be interpreted in

 a manner inconsistent with the disclosure that the coordination center “does not participate in the

 actual call routing.” Id. at 6:61–64. The Court therefore rejects Defendants’ proposal in that regard.

 Instead, a better understanding can be achieved by adopting the above-quoted specification

 language that refers to “the required information for placing a call.” Id. at 6:58.




 9
   Plaintiff has also cited a proposal by Defendant Cellco Partnership d/b/a Verizon Wireless
 (“Verizon”) in IPR proceedings before the PTAB, in which Verizon proposed interpreting
 “coordination center” as meaning “computer(s) that coordinate operation of the gateways.” (Dkt.
 No. 71, Ex. E, Sept. 6, 2018 Petition for Inter Partes Review of U.S. Patent No. 8,014,284, at 30
 (square brackets omitted).) Particularly because this Petition itself noted that the interpretation
 might be different under the Phillips standards for claim construction (see id., at 31), the Court
 does not find that Verizon’s proposal gives rise to any admission or estoppel, and the cited IPR
 document is not otherwise persuasive here.

                                                 - 22 -
Case 2:18-cv-00028-JRG Document 105 Filed 02/07/19 Page 23 of 74 PageID #: 3495




        As to Defendants’ proposal that the “coordination center” necessarily “determines and

 disseminates a price policy,” the specification discloses:

        The cellular center is responsible for the price policy. It determines and publishes
        the cost for each operation over the network. The updated information may be
        transferred over an Internet, or may be available to add-on base stations.

        The information may be dispersed between units in the network. In each
        transaction, the parties thereto will check the date of each price list. The more
        updated price list will be transferred to the other party. Thus, the new price list or
        policy will gradually expand throughout the network.

 Id. at 7:56–64 (emphasis added).

        Plaintiff has emphasized a particular passage in the specification, involving preserving

 caller anonymity, which contains no mention of pricing or billing. See ’284 Patent at 8:30–60.

        Yet, the specification repeatedly emphasizes pricing as a feature of the “novel”

 coordination centers: “The novel centers are also responsible for price setting, as determined by

 an operator there.” Id. at 6:21–22 (emphasis added); see id. at 7:34–36 (“The duties of the cellular

 centers 3 include . . . [i]mplementing a price policy.”) & 10:27–29 (“The billing policy can be

 written digitally by way of a digital document, with a date (and a short expiry date), signed by the

 cellular center.”) (emphasis added). Further of note, such disclosures appear in the context that

 “[a]n important aspect of the present invention is the means for paying to the owner of the add-on

 base station for his/her services.” Id. at 9:49–51; see id. at 5:27–31 (“The novel system includes

 means to offer an incentive to people, to motivate them to install and operate the base stations.

 These include means for collecting a payment for services rendered with the base station.”).

 Plaintiff has not shown any inconsistency between these disclosures and the disclosure regarding

 preserving caller anonymity. See ’284 Patent at 8:30–60.

        Because “coordination center” has no established meaning in the relevant art, and because

 the patentee emphasized “price setting” and “price policy” as features of the “novel” coordination

                                                - 23 -
Case 2:18-cv-00028-JRG Document 105 Filed 02/07/19 Page 24 of 74 PageID #: 3496




 center, the Court’s construction of “coordination center” should include this feature as Defendants

 have proposed. See, e.g., VirnetX, Inc. v. Cisco Sys., Inc., 767 F.3d 1308, 1317–18 (Fed. Cir. 2014)

 (as to term that “does not have a plain and ordinary meaning in this context, and so must be defined

 by reference to the specification,” stating that “[t]he fact that [the feature at issue] is repeatedly

 and consistently used to characterize the invention strongly suggests that it should be read as part

 of the claim”) (citations and internal quotation marks omitted); Irdeto, 383 F.3d at 1300. 10

         The Court therefore hereby construes “coordination center” to mean “center that

 provides information required for making a call and that determines and disseminates a

 price policy.”

 D. “consideration-related policy database”

  Plaintiff’s Proposed Construction                  Defendants’ Proposed Construction

  a database storing information related to a billing database located on the Internet that is
  billing or pricing policies               not the same database as the authentication
                                            database

 (Dkt. No. 69, Ex. B, at 1; Dkt. No. 71, at 7; Dkt. No. 80, at 9; Dkt. No. 90-1, at 5.) The parties

 submit that this term appears in Claims 4, 11, and 19 of the ’284 Patent. (Dkt. No. 69, Ex. B, at 1;

 Dkt. No. 90-1, at 5.)

         Shortly before the start of the January 29, 2019 hearing, the Court provided the parties with

 the following preliminary construction: “a database on the Internet that stores information related

 to billing or pricing policies.”




 10
   The Court need not reach the issue of whether the European patent prosecution history cited by
 Defendants is applicable here. (See Dkt. No. 80, Ex. 3, July 18, 2011 Letter, at 5 (SAMSUNG-
 0030452); see also id., Nov. 20, 2012 Letter, at 2 (SAMSUNG-0030347).)

                                                 - 24 -
Case 2:18-cv-00028-JRG Document 105 Filed 02/07/19 Page 25 of 74 PageID #: 3497




         (1) The Parties’ Positions

         Plaintiff argues that “Defendants’ contention that the database must be located ‘on’ the

 Internet is unsupported by the claim language.” (Dkt. No. 71, at 8.) Further, Plaintiff argues that

 “Defendants’ argument that the consideration-related policy database must be different from ‘the

 authentication database’ is unsupported by the claims or specification.” (Id.)

         Defendants respond that the patentee’s “clear and unmistakable statements to the PTO

 about what the claimed consideration policy database is and why it is distinguishable from the

 prior art require that the database be construed as being on the Internet.” (Dkt. No. 80, at 10.)

 Defendants also similarly argue that the patentee “unequivocally argued that these two types of

 databases are not the same.” (Id., at 11.) 11

         Plaintiff replies that “Defendants fail to meet their burden to show prosecution-history

 disclaimer that ‘consideration-related policy database’ must be (a) located on the Internet and

 (b) distinct from ‘the authentication database.’” (Dkt. No. 85, at 3.)

         At the January 29, 2019 hearing, the parties presented oral arguments as to this term.

         (2) Analysis

         Claim 4 of the ’284 Patent, for example, recites (emphasis added):

         4. The gateway according to claim 1, wherein said controller is further adapted to
         regulate data flow between the mobile device and the data network based, at least
         partially, on information received over the data network from a consideration-
         related policy database.




 11
    Defendants have also submitted a recent Decision in IPR proceedings as to the ’284 Patent in
 which the PTAB adopted the Petitioner’s proposal that “consideration-related policy database”
 includes “a collection of policies which take matters into account, which may include pricing
 matters,” because “Patent Owner does not substantively address Petitioner’s construction in the
 Preliminary Response.” (Dkt. No. 87, Ex. A, Jan. 8, 2019 Decision Instituting Inter Partes Review,
 at 19–20.)

                                                 - 25 -
Case 2:18-cv-00028-JRG Document 105 Filed 02/07/19 Page 26 of 74 PageID #: 3498




        The parties agree that “consideration” in this context refers to billing. The specification

 discloses as follows regarding “billing policy”:

        The billing policy can be written digitally by way of a digital document, with a date
        (and a short expiry date), signed by the cellular center. This policy would be stored
        in all base stations and phones, and they set the prices (by means of tokens) that the
        phones pay.

        When two units interact, they can compare the time stamps or the version of the
        policy held by each unit. Thus the policy is updated as necessary and there would
        not be any dispute between the parties.

        The information may be dispersed between units in the network. In each
        transaction, the parties thereto will check the date of each price list. The more
        updated price list will be transferred to the other party. Thus, the new price list or
        policy will gradually expand throughout the network.

 ’284 Patent at 10:27‒40; see id. at 7:36 & 7:56 (“price policy”); see also id. at 15:24‒29 (“Billing

 in this case is by the receiver phone, or otherwise as set by policy of the cellular center.”).

        As to Defendants’ proposal regarding an “authentication database,” during prosecution the

 patentee distinguished the “Xu” reference (United States Patent No. 6,501,732):

        Applicant submits that the Xu reference simply fails to teach a consideration related
        policy database which is (a) connected to a packet based network, and (b) accessed
        by a gateway. Both of these limitations are missing from the policy database (i.e.
        authentication server) of Xu. The Xu reference simply teaches an authentication
        server (including a database) accessed by a Mobile Switch Center (“MSC”)
        managing a plurality of wireless access points (e.g. base stations). Aside and apart
        from the fact the authentication server of Xu is not accessed by the gateway and is
        not connected to a packet based network, the description of the Xu reference’s
        authentication server makes no mention of consideration related policies. As is well
        known, in most cellular network architectures the billing database (i.e.
        consideration related database) and the authentication database are not the same.
        Although the billing database may be used to update the authentication database,
        the two are separate and distinct entities. Based on the above explanation, it should
        be clear that the authentication server taught in Xu is not a consideration related
        policy database accessible by an access point (i.e. RF to packet based network
        gateways) – as claimed. The Xu reference clearly fails to teach a consideration
        related policy database used by an RF gateway to a packet-based network, as recited
        in all the pending independent claims.




                                                 - 26 -
Case 2:18-cv-00028-JRG Document 105 Filed 02/07/19 Page 27 of 74 PageID #: 3499




 (Dkt. No. 71, Ex. D, Mar. 1, 2010 Response, at 6‒7 (BARKAN-00000392‒93) (pp. 5‒6 of 34 of

 Dkt. No. 71-7) (emphasis modified).)

        Plaintiff has noted, however, that the statement that the billing database and authentication

 database “are separate and distinct entities” related not to the claimed invention but rather to “most

 cellular network architectures,” which are described as being “well known.” In other words, the

 patentee’s statements can be fairly interpreted as arguing merely that disclosure of an

 authentication server does not necessarily imply disclosure of a consideration-related policy

 database. Consequently, no prosecution disclaimer is apparent. See Golight, Inc. v. Wal-Mart

 Stores, Inc., 355 F.3d 1327, 1332 (Fed. Cir. 2004) (“Because the statements in the prosecution

 history are subject to multiple reasonable interpretations, they do not constitute a clear and

 unmistakable departure from the ordinary meaning of the term. . . .”); see also Tech. Properties

 Ltd. LLC v. Huawei Techs. Co., 849 F.3d 1349, 1357–58 (Fed. Cir. 2017) (“If the challenged

 statements are ambiguous or amenable to multiple reasonable interpretations, prosecution

 disclaimer is not established.”).

        As to whether the consideration-related policy database must be “on the Internet,”

 Defendants have cited prosecution history in which the patentee distinguished the “Barany”

 reference (United States Patent No. 6,594,252):

        [I]n the claimed gateway, the consideration related policy database is associated
        with the the [sic] data network, rather than with the gateway.

        For example, according to what is claimed, the database is located on the Internet,
        and the controler [sic] in the gateway regulates data flow between the mobile device
        and the Internet based on the database that resides on the Internet. The novel
        structure is not part of prior art cellular systems (like the one Barany teaches), as
        the database in those systems is never located in the Internet, but rather, the
        database is always located as part of the cellular system.




                                                 - 27 -
Case 2:18-cv-00028-JRG Document 105 Filed 02/07/19 Page 28 of 74 PageID #: 3500




 (Dkt. No. 71, Ex. D, May 20, 2007 Response, at 3 (BARKAN-00000497) (p. 3 of 38 of Dkt.

 No. 71-10) (emphasis modified).) Plaintiff has noted that this passage includes the phrase “[f]or

 example,” but the context shows that the sentence is calling out just one feature of the invention,

 not just an exemplary embodiment. Furthermore, the phrase “according to what is claimed”

 weighs heavily in favor finding that the patentee’s statements have a limiting effect. Also, the

 patentee repeated this assertion in two later portions of the prosecution history. (See Dkt. No. 71,

 Ex. D, June 29, 2008 Amendment, at 4 (BARKAN-00000462) (p. 11 of 43 of Dkt. No. 71-9) (“One

 of the novel features of the current invention is having a consideration-relateed [sic] policy

 database over the Internet . . . .”); see also id., Mar. 30, 2009 Amendment, at 4 (BARKAN-

 00000427) (p. 6 of 30 of Dkt. No. 71-8) (same).)

        These repeated, definitive statements should be given effect in the Court’s construction.

 See Omega Eng’g, Inc. v. Raytek Corp., 334 F.3d 1314, 1324 (Fed. Cir. 2003) (“As a basic

 principle of claim interpretation, prosecution disclaimer promotes the public notice function of the

 intrinsic evidence and protects the public’s reliance on definitive statements made during

 prosecution.”).

        Finally, at the January 29, 2019 hearing, Plaintiff urged that any purported disclaimer does

 not apply to the disputed term because the patentee subsequently amended the claims. Upon

 review, no relevant modification is apparent because the consideration-related policy database was

 recited in relation to a data network both before and after the amendments. (See Dkt. No. 71, Ex. D,

 Dec. 16, 2010 Amendment, at 2‒5 (BARKAN-00000347‒50) & 10‒12 (BARKAN-00000355‒

 57) (pp. 27‒28 of 28 of Dkt. No. 71-5 & pp. 1‒2 & 7‒9 of 39 of Dkt. No. 71-6).) Further, to

 whatever extent the amendments might be viewed as potentially altering the earlier disclaimer, the

 patentee had an obligation to notify the examiner of any purported withdrawal of the disclaimer.



                                                - 28 -
Case 2:18-cv-00028-JRG Document 105 Filed 02/07/19 Page 29 of 74 PageID #: 3501




 See Hakim v. Cannon Avent Group, PLC, 479 F.3d 1313, 1315–18 (Fed. Cir. 2007) (“Although a

 disclaimer made during prosecution can be rescinded, permitting recapture of the disclaimed

 scope, the prosecution history must be sufficiently clear to inform the examiner that the previous

 disclaimer, and the prior art that it was made to avoid, may need to be re-visited.”); see also id. at

 1315–18. Plaintiff has identified no evidence of any such withdrawal.

        The Court therefore hereby construes “consideration-related policy database” to mean

 “a database on the Internet that stores information related to billing or pricing policies.”

 E. “route data”

  Plaintiff’s Proposed Construction                   Defendants’ Proposed Construction

  No construction necessary; plain and ordinary select or determine the path that data will take
  meaning applies.

  Alternatively:
      “send data to its destination”

 (Dkt. No. 69, Ex. B, at 2; Dkt. No. 71, at 9; Dkt. No. 80, at 11; Dkt. No. 90-1, at 5–6.) The parties

 submit that this term appears in Claims 14‒21, 24‒37, and 40‒54 of the ’312 Patent and all Claims

 of the ’638 Patent. (Dkt. No. 69, Ex. B, at 2; Dkt. No. 90-1, at 7.)

        Shortly before the start of the January 29, 2019 hearing, the Court provided the parties with

 the following preliminary construction: “send data toward its destination by choosing from among

 multiple alternative links.”

        (1) The Parties’ Positions

        Plaintiff argues that “route data” “is used in its plain and ordinary sense” and “refers to

 sending data between certain claimed network elements.” (Dkt. No. 71, at 9.) Plaintiff further urges

 that “the intrinsic record . . . does not require that routing of data involve selecting or determining

 the exact path the data takes.” (Id., at 10.) Plaintiff submits that Defendants’ proposal in this regard



                                                  - 29 -
Case 2:18-cv-00028-JRG Document 105 Filed 02/07/19 Page 30 of 74 PageID #: 3502




 “is at odds with how packet-based data networks (such as the Internet) actually work,” wherein “it

 is generally not possible for the sending device to select the exact ‘path’ that data will take.” (Id.)

         Defendants argue:

         [T]he verb “route” is recited in the context of packet-based data communications
         networks, of which the public Internet is an example. In such packet-based
         networks, the data that is transmitted is first separated into individual packets, with
         each packet including a destination address. Each of the packets can travel over
         different network paths (also known as routes) from the source to the destination.
         These different paths consist of links between network nodes known as “routers.”
         Each router receives an incoming packet and selects, based on a routing table and
         the destination IP address, one of the multiple outbound links over which each
         packet will travel to the next router or a final destination. This link selection process
         is known as “routing,” and it is collectively performed by the routers along the
         packet’s path.

 (Dkt. No. 80, at 11–12 (citations omitted).) Defendants submit that this interpretation is consistent

 with the specification and is not contradicted by the prosecution history. (Id., at 12.)

         Plaintiff replies that “Defendants propose a construction of ‘route’ that they concede a

 POSITA would know cannot be performed by the claimed invention in a packet-based data

 network.” (Dkt. No. 85, at 4.)

         In sur-reply, Defendants argue that “a claimed add-on base station could select, using the

 gateway IP address, the path that data from a mobile device takes over the public Internet to a

 remote gateway as required by each claim of the ’638 patent under the correct construction of

 ‘route data’ by using the ‘source path routing’ feature of the Internet Protocol.” (Dkt. No. 89, at 3.)

         At the January 29, 2019 hearing, Plaintiff agreed with the use of “toward” in the Court’s

 preliminary construction, but Plaintiff urged that there should be no requirement of “multiple

 alternative links.”




                                                  - 30 -
Case 2:18-cv-00028-JRG Document 105 Filed 02/07/19 Page 31 of 74 PageID #: 3503




        (2) Analysis

        The specification discloses: “The packets are sent over an IP network to their destination.

 It is possible that some packets are lost during the routing, and that the packets are received in a

 different order.” ’312 Patent at 4:15–17.

        Plaintiff has submitted evidence that packet-switched networks generally do not allow for

 the sending device to specify a “path” for data to follow. (See Dkt. No. 71, Ex. M, Charles R.

 Severance, Introduction to Networking: How the Internet Works, at 16–17 (SAMSUNG-0026541–

 42) (“Your packet has a source address and destination address and the router needs to look at the

 destination address to figure out how to best move your packet towards its destination. With each

 router handling packets destined for any of many billions of destination computers, it’s not possible

 for every router to know the exact location and best route to every possible destination computer.

 So the router makes its best guess as to how to get your packet closer to its destination.”); see also

 id., at 8 (SAMSUNG-0026537) (“routers forward each packet separately based on source and

 destination addresses”; “different packets may take different routes”).) This evidence weighs

 against requiring determining a path (rather than merely moving packets toward a destination).

        Defendants have submitted extrinsic dictionary definitions of “route” as meaning “to

 determine the path that a message or call is to take in a communications network” (Dkt. No. 71,

 Ex. J, Hargrave’s Communications Dictionary 449 (SAMSUNG-0026305) 12) and “routing” as

 “[t]he process of selecting the correct circuit path for a message” (Dkt. No. 80, Ex. 2, Newton’s

 Telecom Dictionary 520 (1996) (SAMSUNG-0038121)). Defendants have also submitted extrinsic

 evidence that IP networks allow for “strict source routing,” which “is a method by which a



 12
    The parties have not provided a year of publication for this dictionary, but this exhibit has been
 cited by both sides.

                                                 - 31 -
Case 2:18-cv-00028-JRG Document 105 Filed 02/07/19 Page 32 of 74 PageID #: 3504




 transmitting device, which could be the ‘add-on base station’ claimed in the ’638 patent, can select

 each node along the path that packets from the transmitting device will travel over an IP network

 to a destination node, which could be a remote gateway, in that network.” (Dkt. No. 89-1, Jan. 14,

 2019 Lanning Decl., at ¶ 4.)

        Yet, one of these technical dictionaries also defines “routing” as “[t]he process of

 determining which of several alternative routers to use in sending a data packet toward its

 destination.” (Dkt. No. 71, Ex. J, Hargrave’s Communications Dictionary 449 (SAMSUNG-

 0026305) (emphasis added); see id. (“The packet may travel through several networks, each with

 its own routers, before reaching the final destination.”).) The opinions of Defendants’ expert to the

 contrary are unpersuasive. (Dkt. No. 80-13, Dec. 21, 2018 Lanning Decl., at ¶¶ 33–36; see id., at

 ¶ 35 (“Only a device such as a router that is connected to a network via multiple outbound links

 ‘routes’ data by selecting one of those outbound links.”) (emphasis added).) 13

        Thus, neither the intrinsic evidence nor the extrinsic evidence warrants the narrow

 interpretation proposed by Defendants. Instead, this evidence demonstrates that to “route data”

 refers merely to sending data toward a selected destination. This is consistent with the context in

 which the disputed term is used in the claims. For example, Claim 14 of the ’312 Patent recites

 (formatting modified; emphasis added):

        14. The gateway of claim 1 wherein the gateway is further adapted to:
                obtain, from a coordination center accessed via the packet-based data
        network, gateway address information for a remote gateway that provides an
        interface between the packet-based data network and a network of a telephone
        service provider; and
                route data from the mobile device, over the packet-based data network, to
        the remote gateway.


 13
    Plaintiff has also cited deposition testimony of Defendants’ expert. Defendants have argued that
 Plaintiff mischaracterizes that testimony. Because the Court does not rely on Plaintiff’s arguments
 in this regard, the Court need not address this testimony.

                                                - 32 -
Case 2:18-cv-00028-JRG Document 105 Filed 02/07/19 Page 33 of 74 PageID #: 3505




         Thus, routing the data to the remote gateway is recited in relation to obtaining address

 information for the remote gateway. The claim therefore uses “route data” in the context of

 determining the proper destination (rather than in the context of selecting one of multiple available

 outbound links). Finally, this interpretation is consistent with the illustration of add-on base

 stations having just one connection to an IP network, rather than multiple alternative links. See,

 e.g., ’312 Patent at Fig. 5.

         The Court therefore hereby construes “route data” to mean “send data toward a selected

 destination.”

 F. “regulating data flow”

  Plaintiff’s Proposed Construction                  Defendants’ Proposed Construction

  controlling access to the packet-based data Putting or maintaining in order a flow of data
  network by the mobile device

 (Dkt. No. 69, Ex. B, at 7; Dkt. No. 71, at 10; Dkt. No. 80, at 13; Dkt. No. 90-1, at 7.) The parties

 submit that this term appears in all Claims of the ’284 Patent. (Dkt. No. 90-1, at 8.)

         Shortly before the start of the January 29, 2019 hearing, the Court provided the parties with

 the following preliminary construction: “controlling a flow of data.”

         (1) The Parties’ Positions

         Plaintiff argues that “[t]he claims make clear that there is a distinction between ‘regulating

 data flow’—performed, for example, by the controller in claim 1—and merely facilitating data

 flow—performed, for example, by the interface between the gateway base station and the packet-

 based data network.” (Dkt. No. 71, at 11.) Plaintiff submits that the specification and the

 prosecution history support Plaintiff’s proposal of interpreting this disputed term as referring to

 control. (See id., at 11‒12.) Plaintiff further argues that Defendants’ proposed construction is

 unclear and lacks support in the intrinsic record. (Id.)

                                                 - 33 -
Case 2:18-cv-00028-JRG Document 105 Filed 02/07/19 Page 34 of 74 PageID #: 3506




        Defendants argue this term together with the term “a controller adapted to regulate data

 flow.” (See Dkt. No. 80, at 13–17.) In particular, Defendants respond that “the claims do not recite

 anything about ‘access.’” (Id., at 17.) Defendants also argue that “Plaintiff’s construction

 incorrectly changes what is claimed—i.e., the controller regulating the bidirectional flow of data

 between the mobile device and the data network—to the unclaimed concept of the controller

 unidirectionally limiting the access of the mobile device to the network.” (Id.) 14

        Plaintiff replies that “[r]egulating data flow refers to controlling access to the data network,

 . . . and Defendants make no attempt to rebut the unambiguous statements in the prosecution

 history so indicating.” (Dkt. No. 85, at 4.)

        At the January 29, 2019 hearing, the parties presented oral arguments. Defendants were

 amenable to the Court’s preliminary construction.

        (2) Analysis

        Claim 3 of the ’284 Patent, for example, depends from Claim 1, and Claims 1 and 3 recite

 (emphasis added):

        1. A gateway to a packet-based data network comprising:
                a transceiver adapted to establish a radio-frequency link with a mobile
        device;
                a first interface adapted to facilitate data flow between the mobile device
        and the packet-based data network; and
                a controller adapted to regulate data flow between the mobile device and
        the data network based, at least partially, on information received over the data
        network from a coordination center, which center is connected to the data network
        through a second interface.

        ***

        3. A method of providing data to a mobile device comprising:

 14
   Defendants have also submitted a recent Decision in IPR proceedings as to the ’284 Patent in
 which the PTAB “disagree[d] with Patent Owner’s conclusion that the regulating data flow
 limitations are limited to regulating ‘access.’” (Dkt. No. 87, Ex. A, Jan. 8, 2019 Decision
 Instituting Inter Partes Review, at 25.)

                                                 - 34 -
Case 2:18-cv-00028-JRG Document 105 Filed 02/07/19 Page 35 of 74 PageID #: 3507




                 establishing a data link between the mobile device and a radio-frequency
         transceiver, which transceiver is functionally associated with a packet based data
         network through a first interface;
                 regulating data flow between the mobile device and the packet based data
         network based, at least partially, on information received over the data network
         from a coordination center, which center is connected to the data network through
         a second interface.

         Claim 1 thus uses both “facilitate” and “regulate,” which implies that these terms have

 distinct meanings. Defendants’ proposal of “putting or maintaining in order” might be interpreted

 by a finder of fact as being akin to “facilitate,” so the separate recital of “facilitate” weighs at least

 somewhat against Defendants’ proposed construction. At the January 29, 2019 hearing,

 Defendants also alternatively proposed that the term “regulating data flow” does not require any

 construction. The parties focused their oral arguments on whether “regulating data flow”

 necessarily refers to controlling “access.”

         The specification does not use “regulate” or “regulating” outside of the claims, and the

 disclosures cited by Plaintiff do not inform the meaning of these terms. See ’284 Patent at 8:21–

 62 & 9:26–47 (“the center checks the authorization of the caller to sen[d] the request”).

         Plaintiff has also cited prosecution history in which the patentee distinguished “Johnson”

 (United States Patent No. 6,497,599) and “Xu” (United States Patent No. 6,501,732):

         The Examiner admits in the Final Office Action that the Johnson reference makes
         no mention of this limitation (see pg. 3 line 1 of the Office Action). In reality, not
         only is there no mention or suggestion of regulating data flow to a packet based
         data network from a gateway, the Johnson reference makes no mention whatsoever
         of regulating data flow through a gateway at all. Furthermore, all of the components
         the Johnson reference teaches operate within a circuit switched network and not a
         packet-based network and are focused on bandwidth allocation and not regulation
         of data flow. In short, the Johnson reference teaches nothing regarding data flow
         regulation and gateway management or structure.

         ***

         Applicant respectfully asserts that anyone of ordinary skill in the art reading the
         teachings of the Xu and Johnson references, both of which relate to cellular circuit

                                                   - 35 -
Case 2:18-cv-00028-JRG Document 105 Filed 02/07/19 Page 36 of 74 PageID #: 3508




        switched networks, would not consider applying their teachings (i.e. related to RF
        management and policy based buffer management techniques) to the gateway,
        communication system and method claimed in the pending claims - as each of the
        pending claims is specifically directed to regulating access of a wireless device (not
        RF bandwidth or buffer size) to a packet based network to which the gateway is
        connected (e.g. Internet) based on information received over the packet-based
        network.

 (Dkt. No. 71, Ex. D, Dec. 16, 2010 Amendment, at 10 & 12 (BARKAN-00000355 & -357) (pp. 7

 and 9 of 39 of Dkt. No. 71-6) (emphasis added).)

        Although the patentee distinguished Johnson and Xu as not disclosing regulating, Plaintiff

 has not shown that the patentee elaborated upon the meaning of regulating. In other words, Plaintiff

 has not shown how these statements by the patentee regarding Johnson and Xu necessarily inform

 the meaning of “regulating” as used in the patents-in-suit. 15 Also, to whatever extent these

 statements can be interpreted as distinguishing controlling bandwidth, the patentee did so

 specifically with reference to circuit-switched networks, not with reference to bandwidth more

 generally. See Omega Eng’g, 334 F.3d at 1324 (“As a basic principle of claim interpretation,

 prosecution disclaimer promotes the public notice function of the intrinsic evidence and protects

 the public’s reliance on definitive statements made during prosecution.”) (emphasis added).

        As to extrinsic evidence, Plaintiff has submitted a general dictionary definition of

 “regulate” as meaning “To control or direct according to rule, principle, or law.” (Dkt. No. 71, Ex.

 F, The American Heritage Dictionary 705 (4th ed. 2001) (BARKAN-00004301).) Plaintiff’s

 proposal of “controlling” is thus supported by evidence, and on balance this term “involves little

 more than the application of the widely accepted meaning of commonly understood words.”



 15
    Plaintiff has also cited its own recent statements in Inter Partes Review proceedings, but those
 statements do not significantly affect the Court’s analysis in the present claim construction
 proceedings. (See Dkt. No. 71, Ex. N, Sept. 10, 2018 Patent Owner’s Preliminary Response Under
 37 C.F.R. § 42.107 to Petition for Inter Partes Review of U.S. Patent No. 8,014,284, at 14‒15.)

                                                - 36 -
Case 2:18-cv-00028-JRG Document 105 Filed 02/07/19 Page 37 of 74 PageID #: 3509




 Phillips, 415 F.3d at 1314. This understanding is also consistent with the recital in above-

 reproduced Claim 1 of “a controller adapted to regulate data flow.”

        In sum, although “regulating” refers to “controlling,” Plaintiff has not shown how

 “regulating data flow” necessarily refers to controlling “access to the packet-based data network

 by the mobile device.” The above-reproduced claim language does not refer to “access,” and

 Plaintiff has not otherwise justified introducing “access” into the construction.

        The Court therefore hereby construes “regulating data flow” to mean “controlling a flow

 of data.”

 G. “a controller adapted to regulate data flow”

  Plaintiff’s Proposed Construction                  Defendants’ Proposed Construction

  “Controller control[ling] access to the packet- means-plus-function (under Williamson)
  based data network by the mobile device”
                                                  Function:
  Not a means-plus-function limitation.               “regulate data flow” (“regulate” means “to
                                                  put or maintain in order”)
  Alternatively, if construed as a means-plus-
  function term:                                  Structure:
                                                      call controller 54, but there is insufficient
  Function:                                       disclosure of how the call controller 54
      “regulate data flow”                        performs the claimed function

  Structure:
      “controller 54, or equivalent”


 (Dkt. No. 69, Ex. B, at 4‒5; Dkt. No. 71, at 12; Dkt. No. 80, at 14; Dkt. No. 90-1, at 8.) The parties

 submit that this term appears in Claims 1, 2, and 4–18 of the ’284 Patent. (Dkt. No. 69, Ex. B, at

 4; Dkt. No. 90-1, at 8.)

        Shortly before the start of the January 29, 2019 hearing, the Court provided the parties with

 the following preliminary construction: “Plain meaning (Not means-plus-function).”




                                                 - 37 -
Case 2:18-cv-00028-JRG Document 105 Filed 02/07/19 Page 38 of 74 PageID #: 3510




         (1) The Parties’ Positions

         Plaintiff argues that Defendants have not rebutted the presumption against means-plus-

 function treatment for this non-means term because “[t]he structure is apparent from the claim

 language, which requires a controller that regulates data flow between a mobile device and a data

 network.” (Dkt. No. 71, at 13.) Alternatively, Plaintiff submits that the specification discloses

 adequate corresponding structure because “[t]he specification explains that controller 54

 supervises and controls the operation of the ‘channel electronic means’ connecting the first and

 second channels.” (Id., at 13‒14.)

         Defendants respond that “[t]he presumption [against means-plus-function treatment] is

 overcome here because ‘controller’ neither connotes any form of structure to one of skill in the art

 in the context of the Asserted Patents, nor recites structure sufficient to perform the claimed

 function.” (Dkt. No. 80, at 14.) Defendants also argue that although the parties agree the proper

 corresponding structure is “controller 54,” this structure is insufficient because “controller 54 is

 merely a black box and the descriptive text merely states what controller 54 does without providing

 any structural information about the controller itself.” (Id., at 16.)

         Plaintiff replies that “[a] POSITA understands a ‘controller’ as a specific structure capable

 of regulating data flow.” (Dkt. No. 85, at 5.) Alternatively, Plaintiff argues that there is sufficient

 corresponding structure because “the specification provides specific examples of the controller’s

 structure and operation.” (Id., at 5.)

         At the January 29, 2019 hearing, the parties presented oral arguments as to this term.

         (2) Analysis

         Claim 1 of the ’284 Patent, for example, recites (emphasis added):

         1. A gateway to a packet-based data network comprising:



                                                  - 38 -
Case 2:18-cv-00028-JRG Document 105 Filed 02/07/19 Page 39 of 74 PageID #: 3511




                  a transceiver adapted to establish a radio-frequency link with a mobile
        device;
               a first interface adapted to facilitate data flow between the mobile device
        and the packet-based data network; and
               a controller adapted to regulate data flow between the mobile device and
        the data network based, at least partially, on information received over the data
        network from a coordination center, which center is connected to the data network
        through a second interface.

        Title 35 U.S.C. § 112(f) (formerly § 112, ¶ 6) provides: “An element in a claim for a

 combination may be expressed as a means or step for performing a specified function without the

 recital of structure, material, or acts in support thereof, and such claim shall be construed to cover

 the corresponding structure, material, or acts described in the specification and equivalents

 thereof.” “In exchange for using this form of claiming, the patent specification must disclose with

 sufficient particularity the corresponding structure for performing the claimed function and clearly

 link that structure to the function.” Triton Tech of Tex., LLC v. Nintendo of Am., Inc., 753 F.3d

 1375, 1378 (Fed. Cir. 2014).

        “[T]he failure to use the word ‘means’ . . . creates a rebuttable presumption . . . that § 112,

 para. 6 does not apply.” Williamson v. Citrix Online LLC, 792 F.3d 1339, 1348 (Fed. Cir. 2015)

 (citations and internal quotation marks omitted). “When a claim term lacks the word ‘means,’ the

 presumption can be overcome and § 112, para. 6 will apply if the challenger demonstrates that the

 claim term fails to recite sufficiently definite structure or else recites function without reciting

 sufficient structure for performing that function.” Id. at 1349 (citations and internal quotation

 marks omitted).

        Williamson, in an en banc portion of the decision, abrogated prior statements that the

 absence of the word “means” gives rise to a “strong” presumption against means-plus-function

 treatment. Id. (citation omitted). Williamson also abrogated prior statements that this presumption

 “is not readily overcome” and that this presumption cannot be overcome “without a showing that

                                                 - 39 -
Case 2:18-cv-00028-JRG Document 105 Filed 02/07/19 Page 40 of 74 PageID #: 3512




 the limitation essentially is devoid of anything that can be construed as structure.” Id. (citations

 omitted). Instead, Williamson found, “[h]enceforth, we will apply the presumption as we have

 done prior to Lighting World . . . .” Id. (citing Lighting World, Inc. v. Birchwood Lighting, Inc.,

 382 F.3d 1354, 1358 (Fed. Cir. 2004)). In a subsequent part of the decision not considered en banc,

 Williamson affirmed the district court’s finding that the term “distributed learning control module”

 was a means-plus-function term that was indefinite because of lack of corresponding structure,

 and in doing so Williamson stated that “‘module’ is a well-known nonce word.” 792 F.3d at 1350.

        Here, Defendants have identified no authority for the proposition that “controller” is a

 “nonce” term under Williamson, and Defendants have submitted no persuasive evidence that the

 term “controller” fails to connote structure in the relevant art. See 792 F.3d at 1350; see also

 Zeroclick, LLC v. Apple Inc., 891 F.3d 1003, 1007–09 (Fed. Cir. 2018) (discussing “giving effect

 to the unrebutted presumption against the application of § 112, ¶ 6”). Nothing in the specification

 suggests that “controller” lacks structure. See ’284 Patent at 10:59–63 (“The channel electronic

 means 53 implements the actual communications to connect between the channels 51 and 52. A

 call controller 54 supervises and controls the operation of means 53, according to commands

 received from a user through the control inputs 541 for the base station.”).

        Plaintiff has submitted technical dictionary definitions of “controller,” thereby reinforcing

 that the term “controller” refers to a known class of structures. (See Dkt. No. 85, Ex. I.1, IBM

 Dictionary of Computing 145 (1994) (“A device that coordinates and controls the operation of one

 or more input/output devices, such as workstations, and synchronizes the operation of such devices

 with the operation of the system as a whole.”); see also id., Ex. H.1, The IEEE Standard Dictionary

 of Electrical and Electronics Terms 217 (6th ed. 1996); Dkt. No. 71, Ex. L, Newton’s Telecom




                                                - 40 -
Case 2:18-cv-00028-JRG Document 105 Filed 02/07/19 Page 41 of 74 PageID #: 3513




 Dictionary 152 (11th ed. 1996) (BARKAN-00004292).) The opinions of Defendants’ expert to the

 contrary are unpersuasive. (See Dkt. No. 80-13, Dec. 21, 2018 Lanning Decl., at ¶¶ 37–40.) 16

         This interpretation is consistent with principles articulated by the Federal Circuit prior to

 the abrogated Lighting World decision. See Greenberg v. Ethicon Endo-Surgery, Inc., 91 F.3d

 1580, 1583 (Fed. Cir. 1996) (finding that “detent mechanism” was not a means-plus-function term

 because “‘detent’ denotes a type of device with a generally understood meaning in the mechanical

 arts, even though the definitions are expressed in functional terms”). 17

         Finally, Defendants have not shown that the term “controller” is analogous to the term

 “cheque standby unit” that failed to connote sufficiently definite structure in Diebold Nixdorf, Inc.

 v. International Trade Commission, 899 F.3d 1291, 1298 (Fed. Cir. 2018). Defendants’ reliance

 on the Media Rights case is similarly unpersuasive. See Media Rights Techs., Inc. v. Capital One

 Fin. Corp., 800 F.3d 1366, 1373 (Fed. Cir. 2015) (finding “compliance mechanism” to be a means-

 plus-function term).

         The Court therefore concludes that Defendants have failed to rebut the presumption against

 means-plus-function treatment, and Defendants have not presented any alternative proposed

 construction. Thus, no further construction is necessary.

         The Court accordingly hereby construes “a controller adapted to regulate data flow” to

 have its plain meaning.


 16
   Plaintiff has also submitted a rough draft of a deposition transcript in which Defendants’ expert
 appeared to understand the term “controllers” as referring to a class of known structures. (See Dkt.
 No. 85, Ex. P, Jan. 4, 2019 Lanning dep. at 5:12–13 (“It’s probably been probably easily 50
 different types of controllers that I have worked on.”).)
 17
    See id. (“It is true that the term ‘detent’ does not call to mind a single well-defined structure, but
 the same could be said of other commonplace structural terms such as ‘clamp’ or ‘container.’ What
 is important is not simply that a ‘detent’ or ‘detent mechanism’ is defined in terms of what it does,
 but that the term, as the name for structure, has a reasonably well understood meaning in the art.”)

                                                  - 41 -
Case 2:18-cv-00028-JRG Document 105 Filed 02/07/19 Page 42 of 74 PageID #: 3514




 H. “connection regulator adapted to facilitate data flow”

  Plaintiff’s Proposed Construction                 Defendants’ Proposed Construction

  No construction necessary; plain and ordinary means-plus-function (under Williamson)
  meaning applies. Not a means-plus-function
  limitation.                                   Function:
                                                    “facilitate data flow”
  Alternatively:
      “a controller adapted to enable data flow Structure:
  and control access”                               No structure is linked to the claimed
                                                function in the specification. To the extent that
  Alternatively, if construed as a means-plus- anything in the specification might correspond
  function term:                                to the claimed function, it appears to be
                                                “channel electronic means 53” which is
  Function:                                     referred to as “circuits for connecting” in the
      “facilitate data flow”                    Abstract, but no structure is disclosed for the
                                                “channel electronic means 53” or the “circuits
  Structure:                                    for connecting.”
      “controller 54, or equivalent”

 (Dkt. No. 69, Ex. B, at 6; Dkt. No. 71, at 15; see Dkt. No. 90-1, at 8–9.) The parties submit that

 this term appears in all Claims of the ’312 Patent. (Dkt. No. 69, Ex. B, at 6; Dkt. No. 90-1, at 9.)

        Shortly before the start of the January 29, 2019 hearing, the Court provided the parties with

 the following preliminary construction: “Controller adapted to facilitate data flow (Not means-

 plus-function).”

        (1) The Parties’ Positions

        Plaintiff argues that Defendants have not rebutted the presumption against means-plus-

 function treatment for this non-means term because “[t]he structure is straightforward from the

 claim language alone.” (Dkt. No. 71, at 15‒16.) Alternatively, Plaintiff argues that “[b]y

 implementing and supervising communications between channels, the call controller 54 both

 enables data flow (data facilitation) and controls access (data regulation) between the claimed

 communication channels.” (Id., at 16.)




                                                - 42 -
Case 2:18-cv-00028-JRG Document 105 Filed 02/07/19 Page 43 of 74 PageID #: 3515




        Defendants respond that “‘connection regulator’ is a coined nonce term that has no known

 meaning—and does not connote any form of structure—to one of one of ordinary skill in the art.”

 (Dkt. No. 80, at 17.) Defendants argue that “[t]he claims here are indefinite because the

 specification fails to disclose corresponding structure that is both clearly linked to, and adequate

 to perform, the claimed function.” (Id., at 18.)

        Plaintiff replies that “[a] regulator is a well-known structure in the art.” (Dkt. No. 85, at 5.)

 Alternatively, Plaintiff argues that “[t]he specification provides sufficient structure for a skilled

 artisan to know and understand what structure corresponds to the limitation.” (Id., at 6.)

        At the January 29, 2019 hearing, the parties presented oral arguments as to this term.

        (2) Analysis

        Claim 1 of the ’312 Patent, for example, recites (emphasis added):

        1. A gateway to a packet-based data network comprising:
                a transceiver adapted to establish a radio frequency link with a mobile
        device;
                a connector to a packet based data network; and
                a connection regulator adapted to facilitate data flow between the mobile
        device and the packet-based data network;
                wherein said gateway is adapted to determine a physical location of said
        gateway.

        Defendants’ expert has opined that although the term “regulator” has structural meaning in

 some contexts (such as “voltage regulator” in the context of electrical circuits), the term

 “connection regulator” has no structural meaning in any relevant art. (See Dkt. No. 80-13, Dec. 21,

 2018 Lanning Decl., at ¶¶ 42–44; cf. Williamson, 792 F.3d at 1351 (regarding the term “distributed

 learning control,” noting that “the presence of modifiers can change the meaning of ‘module’” but

 “the presence of these particular terms does not provide any structural significance to the term

 ‘module’ in this case”); Adv. Ground Info. Sys., Inc. v. Life360, Inc., 830 F.3d 1341, 1348 (Fed.

 Cir. 2016) (“Irrespective of whether the terms ‘symbol’ and ‘generator’ are terms of art in

                                                    - 43 -
Case 2:18-cv-00028-JRG Document 105 Filed 02/07/19 Page 44 of 74 PageID #: 3516




 computer science, the combination of the terms as used in the context of the relevant claim

 language suggests that it is simply an abstraction that describes the function being performed (i.e.,

 the generation of symbols).”).

        Plaintiff’s expert attempts to analogize to an automotive voltage regulator, through which

 “the battery charging current is regulated by intermittently connecting the generator to the battery.”

 (Dkt. No. 85, Ex. Y, Jan. 8, 2019 Lomp Decl., at ¶ 43.) Although a voltage regulator might involve

 connecting and disconnecting, Plaintiff has not shown how this use of a connection in a known

 structure demonstrates that the term “connection regulator” refers to a known structure or class of

 structures.

        Nonetheless, the specification discloses:

        The basic function of the station is to connect a first channel 51 with a second
        channel 52. Either channel may be wired or wireless, using various technologies.

        The channel electronic means 53 implements the actual communications to connect
        between the channels 51 and 52. A call controller 54 supervises and controls the
        operation of means 53, according to commands received from a user through the
        control inputs 541 for the base station.

 ’312 Patent at 10:62–11:2 (emphasis added); see id. at Figs. 2 & 5–7.

        On balance, this disclosure demonstrates that the recital of “connection regulator” in the

 claims of the ’312 Patent aligns with the disclosures regarding “call controller 54” as well as with

 the recitals of a “controller” in the claims of the ’248 Patent. The opinions of Plaintiff’s expert are

 further persuasive in this regard. (See Dkt. No. 98, Ex. A, Jan. 22, 2019 Lomp dep. at 185:18–

 186:21.)

        Defendants urged at the January 29, 2019 hearing that “connection regulator” should not

 be interpreted as referring to a controller because different terms are presumed to have different

 meanings, even as between different patents, when the claims at issue stem from the same



                                                 - 44 -
Case 2:18-cv-00028-JRG Document 105 Filed 02/07/19 Page 45 of 74 PageID #: 3517




 specification. Even assuming that such a presumption arises, “[d]ifferent terms or phrases in

 separate claims may be construed to cover the same subject matter where the written description

 and prosecution history indicate that such a reading of the terms or phrases is proper.” Nystrom v.

 TREX Co., Inc., 424 F.3d 1136, 1143 (Fed. Cir. 2005). The context provided by the above-cited

 portions of the specification support reading “connection regulator” as referring to a controller.

        Finally, the extrinsic technical dictionary definitions of “regulator” cited by Plaintiff

 provide additional support. (See Dkt. No. 85, Ex. W, Comprehensive Dictionary of Electrical

 Engineering 542 (1999) (defining “regulator” as “a controller designed to maintain the state of the

 controlled variable at a constant value, despite fluctuations of the load”); id., Ex. V, The Illustrated

 Dictionary of Electronics 671 (2d ed. 1982) (defining “regulator” as: “1. A device that

 automatically holds a quantity to a constant value, e.g., voltage regulator. 2. A device by means of

 which a quantity may be varied, e.g., potentiometer, rheostat, variable autotransformer.”); id., Ex.

 S, Modern Dictionary of Electronics 637 (7th ed. 1999) (defining “regulator” as “1. A device

 whose function is to maintain a designated characteristic at a predetermined value or to vary it

 according to a predetermined plan. 2. A device used to maintain a desired output voltage or current

 constant regardless of normal changes to the input or to the output load.”).)

        Defendants have therefore failed to rebut the presumption against means-plus-function

 treatment, and the Court interprets the phrase “connection regulator” as referring to a controller.

        The Court accordingly hereby construes “connection regulator adapted to facilitate data

 flow” to mean “controller adapted to facilitate data flow.”

 I. “public Internet”

  Plaintiff’s Proposed Construction                   Defendants’ Proposed Construction

  No construction necessary; plain and ordinary network formed by devices that are assigned
  meaning applies.                              public IP addresses


                                                  - 45 -
Case 2:18-cv-00028-JRG Document 105 Filed 02/07/19 Page 46 of 74 PageID #: 3518




 (Dkt. No. 69, Ex. B, at 3; Dkt. No. 71, at 16; Dkt. No. 80, at 19; Dkt. No. 90-1, at 9.) The parties

 submit that this term appears in Claims 15‒18, 21, 25‒27, 30‒31, 41‒43, and 47‒48 of the ’312

 Patent and Claims 1‒2, 4‒6, 9‒10, 12‒14, 17, 20, 22‒24, 27, 30, 32‒34, and 36 of the ’638 Patent.

 (Dkt. No. 69, Ex. B, at 3; Dkt. No. 90-1, at 10.)

         Shortly before the start of the January 29, 2019 hearing, the Court provided the parties with

 the following preliminary construction: “Plain meaning.”

         (1) The Parties’ Positions

         Plaintiff submits that “[e]very juror will be familiar with the public Internet.” (Dkt. No. 71,

 at 16.) Plaintiff argues that Defendants’ proposal should be rejected because “[t]he network

 comprising the ‘public Internet’ is not the same as the network of devices that are assigned public

 IP addresses.” (Id., at 17.)

         Defendants respond by distinguishing between public and private IP addresses and by

 asserting that “Plaintiff fails to offer any explanation of what the public Internet is, much less

 explain what one of ordinary skill in the art understands it to be, other than to say it is one type of

 packet-based data network.” (Dkt. No. 80, at 19.)

         Plaintiff replies that “Mr. Lanning [Defendants’ expert] admitted that devices which are

 not part of the public Internet can be assigned public IP addresses,” and “[t]he jury will readily

 understand the meaning of ‘public Internet.’” (Dkt. No. 85, at 6.)

         At the January 29, 2019 hearing, the parties presented oral arguments as to this term.

         (2) Analysis

         Claim 15 of the ’312 Patent depends from Claim 14, which in turn depends from Claim 1.

 Claims 1, 14, and 15 recite (emphasis added):

         1. A gateway to a packet-based data network comprising:

                                                 - 46 -
Case 2:18-cv-00028-JRG Document 105 Filed 02/07/19 Page 47 of 74 PageID #: 3519




                  a transceiver adapted to establish a radio frequency link with a mobile
        device;
               a connector to a packet based data network; and
               a connection regulator adapted to facilitate data flow between the mobile
        device and the packet-based data network;
               wherein said gateway is adapted to determine a physical location of said
        gateway.


        ***

        14. The gateway of claim 1 wherein the gateway is further adapted to: obtain, from
        a coordination center accessed via the packet-based data network, gateway address
        information for a remote gateway that provides an interface between the packet-
        based data network and a network of a telephone service provider; and route data
        from the mobile device, over the packet-based data network, to the remote gateway.

        15. The gateway of claim 14 wherein the packet-based data network comprises the
        public Internet.

        This claim language contains no suggestion that the patentee used the term “Internet” to

 have any meaning other than its general, well-known meaning.

        The specification discloses:

        New base station 43 illustrates yet another type of network enhancement. It
        generates a wireless cell that is directly connected to an Internet 24.

 ’284 Patent at 5:9–11. Defendants have not shown that this disclosure of being “directly

 connected” to the Internet necessarily implies that every device connected to the Internet must

 have a public IP address. Conversely, Defendants have not persuasively shown that a device that

 has been given a public IP address is necessarily on the “public Internet.” (See Dkt. No. 98, Ex. A,

 Jan. 4, 2019 Lanning Dep. at 63:22–64:10 (“So in my mind, even if a closed private network uses

 public IP addresses, that’s not the public internet.”); see also Lextron Sys., Inc. v. Microsoft Corp.,

 No. C-04-0588, 2005 WL 6220089, at *8 (N.D. Cal. June 1, 2005) (Walker, C.J.) (“there is only

 one ‘Internet’”).)




                                                 - 47 -
Case 2:18-cv-00028-JRG Document 105 Filed 02/07/19 Page 48 of 74 PageID #: 3520




        On balance, Defendants’ concerns regarding the distinction between “public” networks and

 “private” networks is addressed by the disputed term itself specifying “public.” The opinions of

 Defendants’ expert regarding “public” IP addresses are therefore unpersuasive. (See Dkt. No. 80-

 13, Dec. 21, 2018 Lanning Decl., at ¶¶ 45–49.)

        Defendants argue that “it is clear to one of ordinary skill in the art that the base station must

 use a public rather than a private IP address” (Dkt. No. 80, at 20), but Defendants’ have not shown

 how the term “public Internet” purportedly imposes any limitation as to the address of a base

 station. To whatever extent Defendants are arguing that Plaintiff’s contentions are inconsistent

 with the requirement of a packet-based data network comprising the public Internet, any such

 dispute raises factual questions regarding infringement rather than any legal question for claim

 construction. See PPG Indus. v. Guardian Indus. Corp., 156 F.3d 1351, 1355 (Fed. Cir. 1998)

 (“after the court has defined the claim with whatever specificity and precision is warranted by the

 language of the claim and the evidence bearing on the proper construction, the task of determining

 whether the construed claim reads on the accused product is for the finder of fact”); see also Eon

 Corp. IP Holdings LLC v. Silver Spring Networks, Inc., 815 F.3d 1314, 1318–19 (Fed. Cir. 2016)

 (citing PPG).

        The Court therefore hereby expressly rejects Defendants’ proposed construction, and no

 further construction is necessary. See U.S. Surgical Corp. v. Ethicon, Inc., 103 F.3d 1554, 1568

 (Fed. Cir. 1997) (“Claim construction is a matter of resolution of disputed meanings and technical

 scope, to clarify and when necessary to explain what the patentee covered by the claims, for use

 in the determination of infringement. It is not an obligatory exercise in redundancy.”); see also O2

 Micro Int’l Ltd. v. Beyond Innovation Tech. Co., 521 F.3d 1351, 1362 (Fed. Cir. 2008) (“[D]istrict

 courts are not (and should not be) required to construe every limitation present in a patent’s



                                                 - 48 -
Case 2:18-cv-00028-JRG Document 105 Filed 02/07/19 Page 49 of 74 PageID #: 3521




 asserted claims.”); Finjan, Inc. v. Secure Computing Corp., 626 F.3d 1197, 1207 (Fed. Cir. 2010)

 (“Unlike O2 Micro, where the court failed to resolve the parties’ quarrel, the district court rejected

 Defendants’ construction.”); ActiveVideo Networks, Inc. v. Verizon Commcn’s, Inc., 694 F.3d

 1312, 1326 (Fed. Cir. 2012); Summit 6, LLC v. Samsung Elecs. Co., Ltd., 802 F.3d 1283, 1291

 (Fed. Cir. 2015). 18

         The Court accordingly hereby construes “public Internet” to have its plain meaning.

 J. “tamper-free hardware” and “tamper-free unit”

  Plaintiff’s Proposed Construction                   Defendants’ Proposed Construction

  “tamper-free hardware”:                     unit/hardware that includes means to destroy
     “hardware designed to prevent or inhibit its contents or delete information stored
  tampering”                                  therein, if someone tries to tamper with it

  “tamper-free unit”:
     “mechanism designed to prevent or inhibit
  tampering”


 (Dkt. No. 69, Ex. B, at 7; Dkt. No. 80, at 20; Dkt. No. 90-1, at 11; see Dkt. No. 71, at 18.) The

 parties submit that these terms appear in Claims 1–16, 18–19, and 28 of the ’638 Patent and Claim

 13 of the ’312 Patent. (Dkt. No. 90-1, at 12.)

         Shortly before the start of the January 29, 2019 hearing, the Court provided the parties with

 the following preliminary constructions: “hardware that includes means to destroy its contents or

 delete information stored therein, if someone tries to tamper with it”; and “unit that includes means

 to destroy its contents or delete information stored therein, if someone tries to tamper with it.”




 18
   Lextron, 2005 WL 6220089, at *8 (“‘Internet’ has entered the popular lexicon and needs no
 construction”).

                                                  - 49 -
Case 2:18-cv-00028-JRG Document 105 Filed 02/07/19 Page 50 of 74 PageID #: 3522




         (1) The Parties’ Positions

         Plaintiff argues that Defendants’ proposal should be rejected because “[t]he specification

 is clear that the information-destruction implementation is merely one form of claimed tamper-

 proofing.” (Dkt. No. 71, at 18.) Plaintiff submits that “‘[t]amper’ is susceptible to its plain and

 ordinary meaning, and neither party seeks to construe it.” (Id.) As to “tamper-free unit,” Plaintiff

 submits that “[t]he specification contemplates that the base stations’ anti-tamper features may be

 implemented not only through hardware (as discussed above), but also through other mechanisms

 associated with the base station unit, such as software-based solutions.” (Dkt. No. 71, at 19.)

         Defendants respond that these terms “are not terms of art and have no established

 customary meaning in the art of cellular communications,” and “the sole teaching in the patents

 regarding what ‘tamper-free’ means is that the box includes means to destroy or delete its contents

 if there is attempted tampering.” (Dkt. No. 80, at 20.)

         Plaintiff replies that “tampering is a well-understood term” and “the specification examples

 of tamper-free units do not make tampering impossible, but merely inhibit tampering.” (Dkt. No.

 85, at 7.)

         At the January 29, 2019 hearing, the parties presented oral arguments as to this term.

         (2) Analysis

         Claim 1 of the ’638 Patent, for example, recites in relevant part (emphasis added):

         1. An add-on base station comprising:
                 a transceiver adapted to establish a radio-frequency link with a mobile
         device;
                 a first interface, separate from said transceiver, that is adapted for
         communication over the public Internet;
                 a controller adapted to:
                     determine current geographical location data for the add-on
                         base station using a global positioning system (GPS)
                         device included in the add-on base station,



                                                - 50 -
Case 2:18-cv-00028-JRG Document 105 Filed 02/07/19 Page 51 of 74 PageID #: 3523




                    wherein the current geographical location data includes
                        location data determined by the GPS device;
                    transmit recurrent updates regarding current operating
                        parameters to a server of a server system via the public
                        Internet, wherein the current operating parameters
                        include current geographical location data and the server
                        system is adapted to identify the base station based on a
                        unique property stored in a tamper-free unit of the add-
                        on base station and to track the add-on base station based
                        on the identification; . . . .

 The specification discloses:

        The information regarding prices of use of the net and the additional, private base
        stations, is disseminated as digital documents encrypted so as to prevent tampering
        with.

        ***

        The billing unit can be a “black box” inside each apparatus. This black box can be
        tamper-free, including means to destroy its contents or delete the information
        therein, if someone tries to tamper with it. This ensures that it can be trusted to work
        under commands given in policy documents.

        The billing unit may be implemented as part of a call controller 54 in the base
        station, see FIG. 2.

        In another embodiment, the black box function may be contained within a smart
        card.

 ’284 Patent at 6:22–25, 10:41–49 (emphasis added).

        Plaintiff has argued that the “means to destroy its contents or delete the information

 therein” is merely a preferred feature. See UltimatePointer, L.L.C. v. Nintendo Co., Ltd., 816 F.3d

 816, 822 (Fed. Cir. 2016) (“We have cautioned against importing limitations from the specification

 into the claims when performing claim construction . . . .”).

        Yet, what is set forth as preferred in this disclosure is the “tamper-free” feature itself. The

 language relied upon by Defendants explains the meaning of “tamper-free” in this context.




                                                 - 51 -
Case 2:18-cv-00028-JRG Document 105 Filed 02/07/19 Page 52 of 74 PageID #: 3524




        Plaintiff argues that “the jury will likewise understand what it means for something to be

 resistant to tampering,” but the term here at issue is “tamper-free,” not tamper-resistant. Although

 Plaintiff has submitted an extrinsic dictionary definition of “free” as meaning “[n]ot hampered or

 restricted in its normal operation,” Plaintiff has not shown how this extrinsic definition has any

 bearing upon the meaning of “tamper-free” in the context of the claims. (Dkt. No. 71, Ex. O,

 Merriam-Webster’s Collegiate Dictionary 464 (10th ed. 1997) (BARKAN-00004272).)

        Indeed, Plaintiff has not rebutted the opinions of Defendants’ expert that “tamper-free” has

 had no established meaning in the relevant art. (See Dkt. No. 80-13, Dec. 21, 2018 Lanning Decl.,

 at ¶ 60 (“The apparently narrower term ‘tamper-free’ is also unclear and perhaps more so because,

 in addition to the uncertainty associated with terms like ‘tamper-resistant,’ it is not clear to one of

 ordinary skill in the art as to whether the term ‘tamper-free’ is intended to connote something more

 than tamper-resistant.”); see also id., at ¶¶ 58–59.) This absence of established meaning provides

 further support for interpreting “tamper-free” in accordance with the above-reproduced

 specification disclosure. See Irdeto, 383 F.3d at 1300 (“absent . . . an accepted meaning [in the

 art], we construe a claim term only as broadly as provided for by the patent itself”).

        At the January 29, 2019 hearing, Plaintiff urged that a person of ordinary skill in the art

 would recognize that encryption does not make tampering impossible. Plaintiff concluded that the

 disclosure regarding documents “encrypted so as to prevent tampering” shows that to “prevent

 tampering” means merely to make tampering more difficult. ’284 Patent at 6:22–25. Plaintiff has

 not shown support in the intrinsic or extrinsic evidence for drawing such inferences, and the Court

 finds none.

        The Court therefore hereby construes “tamper-free hardware” to mean “hardware that

 includes means to destroy its contents or delete information stored therein, if someone tries



                                                 - 52 -
Case 2:18-cv-00028-JRG Document 105 Filed 02/07/19 Page 53 of 74 PageID #: 3525




 to tamper with it.” The Court also construes “tamper-free unit” to mean “unit that includes

 means to destroy its contents or delete information stored therein, if someone tries to tamper

 with it.”

 K. “transmission power lower than transmission power of conventional base stations”

  Plaintiff’s Proposed Construction                 Defendants’ Proposed Construction

  No construction necessary; plain and ordinary Indefinite
  meaning applies.

  Alternatively:
      “transmission power lower than the
  transmission power of a cellular-frequency
  macrocell site”

 (Dkt. No. 69, Ex. B, at 8; Dkt. No. 71, at 19; Dkt. No. 80, at 21; Dkt. No. 90-1, at 12.) The parties

 submit that this term appears in Claims 1‒16 of the ’638 Patent. (Dkt. No. 69, Ex. B, at 8; Dkt.

 No. 90-1, at 13.)

        Shortly before the start of the January 29, 2019 hearing, the Court provided the parties with

 the following preliminary construction: “Plain meaning (Not indefinite).”

        (1) The Parties’ Positions

        Plaintiff argues that the meaning of this term is readily apparent based on surrounding

 claim language and disclosures in the specification. (See Dkt. No. 71, at 19‒20.)

        Defendants respond that “independent claims 1 and 9 of the ’638 patent are indefinite

 because there was no common understanding among those of ordinary skill in the art of what the

 ‘transmission power of conventional base stations’ is, and the patent does not define one.” (Dkt.

 No. 80, at 21.)




                                                - 53 -
Case 2:18-cv-00028-JRG Document 105 Filed 02/07/19 Page 54 of 74 PageID #: 3526




        Plaintiff replies that Defendants “attempt to obfuscate a simple, easily-understood

 feature—that the patented device is a less powerful alternative to conventional cell towers that

 consumers can install in homes or businesses.” (Dkt. No. 85, at 7.)

        At the January 29, 2019 hearing, the parties presented oral arguments as to this term.

        (2) Analysis

        Claim 1 of the ’638 Patent, for example, recites in relevant part (emphasis added):

        1. An add-on base station comprising:
                a transceiver adapted to establish a radio-frequency link with a mobile
        device;
                a first interface, separate from said transceiver, that is adapted for
        communication over the public Internet;
                a controller . . .
                wherein the add-on base station has transmission power lower than
        transmission power of conventional base stations and produces a cell smaller than
        macrocells of conventional base stations . . . .

        As a threshold matter, the portions of the specification cited by Plaintiff regarding “a

 relatively high transmit power” and a “regular base station” do not provide any clear meaning for

 the disputed term. ’284 Patent at 1:29–33 & 3:63–64; see id. at 16:47–49 (“a high power transmitter

 or a large antenna”).

        Further, Defendants have submitted evidence that there was no particular “conventional”

 transmission power at the relevant time. Instead, transmission power has had a wide range. (See

 Dkt. No. 80, Ex. 5 at 14 (SAMSUNG-0030141) (defining classes with power ratings ranging from

 2.5W to 640W); see also id., Ex. 4; Dkt. No. 80-13, Dec. 21, 2018 Lanning Decl., at ¶ 68 (“If we

 include GSM 900 micro- and pico-base stations, the variance extends even further down to 13

 dBm (about 0.02 W) to 24 dBm (about 0.2512 W). Thus, in GSM 400 and 900 networks at the

 time of the purported invention of the Asserted Patents, the ‘transmission power of a conventional

 base station’ may potentially represent a range of possible transmission powers in which the



                                               - 54 -
Case 2:18-cv-00028-JRG Document 105 Filed 02/07/19 Page 55 of 74 PageID #: 3527




 highest maximum nominal transmission power (640 W) was about 32,000 times greater than the

 lowest maximum nominal transmission power (0.02 W).”) (citations omitted); id., at ¶¶ 67–69.)

        Nonetheless, this evidence regarding “micro- and pico-base stations” is not relevant in the

 context of the subsequent claim language reciting “produc[ing] a cell smaller than macrocells of

 conventional base stations.” Plaintiff has submitted sufficient evidence that the term “macrocell”

 has been known in the relevant art. (See Dkt. No. 71, Ex. L, Newton’s Telecom Dictionary 361

 (11th ed. 1996) (BARKAN-00004288) (“macrocell is a new word for what we used to call a

 ‘cell’”); see also Dkt. No. 80, Ex. 6, Robin Coombs and Raymond Steele, Introducing Microcells

 into Macrocellular Networks: A Case Study, 47 IEEE Transactions on Communications 568 (Apr.

 1999) (SAMSUNG-0026282) (referring to “conventional size cells, often called macrocells”).)

        The disclosure that the invention may employ “antenna towers,” cited by Defendants, does

 not disturb this understanding because the use of a tower does not necessarily imply any particular

 transmission power. See ’284 Patent at 15:53–58. Instead, the disputed term is directed to

 transmission power lower than the transmission power of any known base station for a “macrocell”

 at the time of the invention. See Muniauction, Inc. v. Thomson Corp., 532 F.3d 1318, 1326 (Fed.

 Cir. 2008) (“The use of ‘conventional’ to modify ‘Internet browser’ and ‘web browsing software’

 denotes a reference to web browsers in existence at the time of the alleged invention . . . .”),

 abrogated on other grounds by Travel Sentry, Inc. v. Tropp, 877 F.3d 1370 (Fed. Cir. 2017); see

 also PC Connector Solutions, LLC v. SmartDisk Corp., 406 F.3d 1359, 1363 (Fed. Cir. 2005)

 (discussing “conventional” as referring to “technologies existing at the time of the invention”).

        Thus, on balance, the disputed term sufficiently “inform[s] those skilled in the art about

 the scope of the invention with reasonable certainty.” Nautilus, 572 U.S. at 910; see id. at 909 n.5;

 see also Interval Licensing LLC v. AOL, Inc., 766 F.3d 1364, 1370 (Fed. Cir. 2014) (“We do not



                                                - 55 -
Case 2:18-cv-00028-JRG Document 105 Filed 02/07/19 Page 56 of 74 PageID #: 3528




 understand the Supreme Court to have implied in Nautilus . . . that terms of degree are inherently

 indefinite.”).

         The Court therefore concludes that Defendants have failed to show indefiniteness. See

 Sonix, 844 F.3d at 1377. Defendants have not presented any alternative proposed construction, and

 no further construction is necessary.

         The Court accordingly hereby construes “transmission power lower than transmission

 power of conventional base stations” to have its plain meaning.

 L. “produces a cell smaller than macrocells of conventional base stations”

  Plaintiff’s Proposed Construction                 Defendants’ Proposed Construction

  No construction necessary; plain and ordinary Indefinite
  meaning applies.

  Alternatively:
      “produces a cellular signal that extends a
  distance which is less than the distance of the
  cellular signal produced by a cellular
  macrocell site”

 (Dkt. No. 69, Ex. B, at 9; Dkt. No. 71, at 22; Dkt. No. 80, at 23; Dkt. No. 90-1, at 13–14.) The

 parties submit that this term appears in Claims 1‒16 of the ’638 Patent. (Dkt. No. 69, Ex. B, at 9;

 Dkt. No. 90-1, at 15.)

         Shortly before the start of the January 29, 2019 hearing, the Court provided the parties with

 the following preliminary construction: “Plain meaning (Not indefinite).”

         (1) The Parties’ Positions

         Plaintiff argues that “[t]he concept of the size of the cell created by the base station as

 compared to the size of the cell created by a macrocell is straightforward, and should be given its

 plain and ordinary meaning.” (Dkt. No. 71, at 22.) Plaintiff further argues that “definiteness only

 requires ‘reasonable certainty’ as to its coverage, and a POSITA would understand that the

                                                - 56 -
Case 2:18-cv-00028-JRG Document 105 Filed 02/07/19 Page 57 of 74 PageID #: 3529




 limitation does not cover cell sizes associated with conventional macrocell sites, even ones with

 small cells.” (Id., at 23 (citation omitted).)

         Defendants respond that this term is indefinite because “there was no common

 understanding among those of ordinary skill in the art regarding the size of ‘macrocells of

 conventional base stations.’” (Dkt. No. 80, at 23.)

         Plaintiff replies that “[b]ecause a POSITA would know of the cell sizes corresponding

 to conventional base stations, Defendants not only failed to meet their burden, but disproved

 their indefiniteness theory with the evidence they submitted.” (Dkt. No. 85, at 9.)

         At the January 29, 2019 hearing, the parties presented oral arguments as to this term.

         (2) Analysis

         The specification uses the term “cell” to refer to an area. See ’284 Patent at 1:38–40 (“As

 more users are to be served in a specific area, the cells are made smaller, and more base stations

 have to be installed.”); see also id. at 4:32–34 (“Once this device, the base station 41, is bought

 and operated by its owner, it generates a wireless cell in its surroundings.”). Plaintiff has also

 submitted extrinsic evidence explaining that “[a] city or county is divided into smaller ‘cells’” and

 “[b]y controlling the transmission power, the radio frequencies assigned to one cell can be limited

 to the boundaries of that cell.” (Dkt. No. 71, Ex. L, Newton’s Telecom Dictionary 118 (11th ed.

 1996) (BARKAN-00004291).)

         Defendants have submitted evidence of a broad range of possible sizes for cells, such as

 with a radius ranging from half of a kilometer up to 50 kilometers. (See Dkt. No. 80-13, Dec. 21,

 2018 Lanning Decl., at ¶¶ 71–74; see also Dkt. No. 80, Ex. 4, at 6 (SAMSUNG-0026458).) This

 evidence also shows that some cellular standards do not specify a minimum cell size. (See id.)

 Defendants have also cited testimony in which Plaintiff’s expert purportedly gave inconsistent



                                                  - 57 -
Case 2:18-cv-00028-JRG Document 105 Filed 02/07/19 Page 58 of 74 PageID #: 3530




 answers regarding the size of a macrocell. (See Dkt. No. 97, Ex. A, Jan. 22, 2019 Lomp dep. at

 57:19–58:12, 74:7–22, 81:6–16 & 98:12–99:1.) Still, the above-cited evidence submitted by

 Defendants demonstrates that persons of ordinary skill in the art have had a reasonably well-

 defined understanding of the size of a “cell,” and Defendants’ own evidence uses the term

 “macrocells” to refer to “conventional size cells.” (Dkt. No. 80, Ex. 6, Robin Coombs and

 Raymond Steele, Introducing Microcells into Macrocellular Networks: A Case Study, 47 IEEE

 Transactions on Communications 568 (Apr. 1999) (SAMSUNG-0026282); see Muniauction, 532

 F.3d at 1326; see also PC Connector, 406 F.3d at 1363 (discussing “conventional” as referring to

 “technologies existing at the time of the invention”).)

        The disputed term is thus directed to a cell size smaller than that of any “macrocell” at the

 time of the invention, and the disputed term sufficiently “inform[s] those skilled in the art about

 the scope of the invention with reasonable certainty.” Nautilus, 572 U.S. at 910. The Court

 therefore concludes that Defendants have failed to show indefiniteness. See Sonix, 844 F.3d at

 1377. Defendants have not presented any alternative proposed construction, and no further

 construction is necessary.

        The Court accordingly hereby construes “produces a cell smaller than macrocells of

 conventional base stations” to have its plain meaning.




                                                - 58 -
Case 2:18-cv-00028-JRG Document 105 Filed 02/07/19 Page 59 of 74 PageID #: 3531




 M. “the add-on base station . . . is [owned and] installed by an individual or entity, separate
 and distinct from the telephone service provider, with access to the public Internet”

  Plaintiff’s Proposed Construction                  Defendants’ Proposed Construction

  No construction necessary; plain and ordinary Indefinite - § 112 mixed method/apparatus
  meaning applies.                              claim

  Alternatively:                                     Alternatively:
      “add-on base station[s]. . . has access to the     no patentable weight
  public Internet, and is set up for use by a person
  or entity other than a telecommunications
  provider”

 (Dkt. No. 80, at 24; Dkt. No. 90-1, at 15; see Dkt. No. 69, Ex. B, at 10; see also Dkt. No. 71, at 23.)

 The parties submit that this term appears in Claims 5, 6, 13, 14, 23, 24, 33, and 34 of the ’638

 Patent. (Dkt. No. 69, Ex. B, at 10; Dkt. No. 90-1, at 15.)

        Shortly before the start of the January 29, 2019 hearing, the Court provided the parties with

 the following preliminary construction: “Indefinite” (based on IPXL Holdings, LLC v.

 Amazon.com, Inc., 430 F.3d 1377 (Fed. Cir. 2005)).

        (1) The Parties’ Positions

        Plaintiff argues that “[j]urors will know exactly what this phrase means—that the add-on

 base stations are Internet-capable devices that consumers can install on their own.” (Dkt. No. 71,

 at 23.) Plaintiff also argues that “[t]his claim term is not an improper mixed method/apparatus

 claim (and also has patentable weight) because it contains limitations describing a ‘structure’—

 the add-on base station with access to the Internet—by ‘reciting its capabilities’—the capability to

 be owned and installed by an entity other than a telephone network operator.” (Id., at 24 (citation

 omitted).)

        Defendants respond that “[t]hese limitations are indefinite because they impermissibly mix

 an apparatus and a method.” (Dkt. No. 80, at 24.) In particular, Defendants argue that the claims



                                                 - 59 -
Case 2:18-cv-00028-JRG Document 105 Filed 02/07/19 Page 60 of 74 PageID #: 3532




 “do not recite ‘capable of’ or any similar phrase, and instead affirmatively require that the add-on

 base station ‘is owned and installed’ by an individual or entity.” (Id., at 25.)

          Plaintiff replies: “The limitation simply recites the plug-and-play nature of the claimed

 device (which the Patents-in-Suit distinguish from the expensive, static infrastructure associated

 with conventional macrocells, such as cell towers, that are installed only by telephone service

 providers). This term places a design limitation on the claimed structure: that the base station be

 configured for installation by non-telecom carriers.” (Dkt. No. 85, at 9.)

          At the January 29, 2019 hearing, Plaintiff and Defendants presented no oral arguments as

 to this term and instead rested on their briefing.

          (2) Analysis

          A single patent may include claims directed to one or more of the classes of
          patentable subject matter, but no single claim may cover more than one subject
          matter class. IPXL Holdings[, LLC v. Amazon.com, Inc.], 430 F.3d [1377,] 1384
          [(Fed. Cir. 2005)] (holding indefinite a claim covering both an apparatus and a
          method of using that apparatus).

 Microprocessor Enhancement Corp. v. Tex. Instruments Inc., 520 F.3d 1367, 1374 (Fed. Cir.

 2008).

          Claims 5 and 6 of the ’638 Patent, for example, recite:

          5. The add-on base station of claim 1, wherein the add-on base station is owned and
          installed by an individual or entity, separate and distinct from the telephone service
          provider, with access to the public Internet.

          6. The add-on base station of claim 1, wherein the add-on base station expands
          coverage of a cellular network and is owned and installed by an individual or entity,
          separate and distinct from the telephone service provider, with access to the public
          Internet.

          Plaintiff has cited the Federal Circuit’s UltimatePointer decision for the proposition that

 IPXL does not apply where the limitation at issue “reflects the capability of th[e] structure rather

 than the activities of the user.” 816 F.3d at 827. Plaintiff has similarly cited this Court’s statement

                                                  - 60 -
Case 2:18-cv-00028-JRG Document 105 Filed 02/07/19 Page 61 of 74 PageID #: 3533




 in Motion Games that an “apparatus claim that simply contains functional limitations that describe

 a structure by reciting its capabilities is not an indefinite mixing of claim forms.” Motion Games,

 LLC v. Nintendo Co., Ltd., No. 6:12-CV-878, 2015 WL 11170167, at *2 (E.D. Tex. Jan. 16, 2015)

 (Love, J.) (citation and internal quotation marks omitted).

        Such authorities are distinguishable because here the above-reproduced claims do not recite

 a mere capability. Instead, the claims recite that the add-on base station actually “is owned and

 installed by an individual or entity” (rather than a telephone service provider). This action language

 in the dependent claims contrasts with, for example, the recitals of “adapted to” in Claim 1 of the

 ’638 Patent, and Claim 1 contains no indication that the add-on base station has already been

 installed. Thus, at best, “it is unclear whether infringement of [the claim] occurs when one creates

 a system that allows the user to [own and install the add-on base station], or whether infringement

 occurs when the user actually [owns and installs the add-on base station].” IPXL, 430 F.3d at 1384;

 see also In re Katz Interactive Call Processing Patent Litig., 639 F.3d 1303, 1318 (Fed. Cir. 2011)

 (“Like the language used in the claim at issue in IPXL (‘wherein . . . the user uses’), the language

 used in Katz’s claims (‘wherein . . . callers digitally enter data’ and ‘wherein . . . callers provide

 . . . data’) is directed to user actions, not system capabilities.”). The same analysis also applies to

 Claims 13, 14, 23, 24, 33, and 34 of the ’638 Patent.

        The Court therefore hereby finds that Claims 5, 6, 13, 14, 23, 24, 33, and 34 of the ’638

 Patent are indefinite.




                                                 - 61 -
Case 2:18-cv-00028-JRG Document 105 Filed 02/07/19 Page 62 of 74 PageID #: 3534




 N. “unique identity bound to a cryptographic key”

  Plaintiff’s Proposed Construction                   Defendants’ Proposed Construction

  No construction necessary.                          unique identity and a cryptographic key
                                                      included in a certificate issued by a certifying
  Alternatively:                                      authority
      “unique identity        associated   with   a
  cryptographic key”

 (Dkt. No. 69, Ex. B, at 10; Dkt. No. 71, at 25; Dkt. No. 80, at 26; Dkt. No. 90-1, at 15.) The parties

 submit that this term appears in Claims 8‒13 & 39‒52 of the ’312 Patent. (Dkt. No. 69, Ex. B, at

 10; Dkt. No. 90-1, at 16.)

         Shortly before the start of the January 29, 2019 hearing, the Court provided the parties with

 the following preliminary construction: “unique identity and a cryptographic key associated with

 one another in a certificate issued by a certificate authority.”

         (1) The Parties’ Positions

         Plaintiff argues that “Defendants’ attempt to limit the unique identifier to ‘a certificate

 issued by a certifying authority’ has no basis.” (Dkt. No. 71, at 26.) Indeed, Plaintiff argues, “there

 is no mention of a ‘certifying authority’ anywhere in the claims or specification” and “the

 specification explicitly does not limit the means for achieving the unique identity.” (Id. (citing

 ’284 Patent at 2:34‒46 & 11:25‒26).)

         Defendants respond that their proposed construction “reflects the ordinary meaning of this

 claim phrase in the field of cryptography because cryptographic keys are bound to unique identities

 by a certificate issued by a certifying authority.” (Dkt. No. 80, at 26.) Defendants also argue that

 the specification is consistent with this interpretation. (Id., at 26–27.)

         Plaintiff replies that Defendants’ proposed construction “is an attempt to import a

 limitation into the claim regarding how the binding is accomplished.” (Dkt. No. 85, at 9.)



                                                  - 62 -
Case 2:18-cv-00028-JRG Document 105 Filed 02/07/19 Page 63 of 74 PageID #: 3535




           At the January 29, 2019 hearing, the parties presented oral arguments as to this term.

           (2) Analysis

           As a threshold matter, the dictionary definitions of “bind” cited by Plaintiff do not pertain

 to the field of cryptography and are therefore unpersuasive. (See Dkt. No. 71, Ex. G, Microsoft

 Press Computer Dictionary 50–51 (3d ed. 1997) (BARKAN-00004279–80) (“To associate two

 pieces of information with one another. The term is most often used with reference to associating

 a symbol (such as the name of a variable) with some descriptive information (such as a memory

 address, a data type, or an actual value).”); see also id., Ex. I, IBM Dictionary of Computing 64

 (1994) (BARKAN-00004261).)

           The disputed term appears in Claims 8 and 39 of the ’312 Patent, which recite (emphasis

 added):

           8. A system for providing wireless access to a packet based data network
           comprising:
                  a gateway to a packet-based data network comprising:
                      a transceiver adapted to establish a radio frequency link with
                           a mobile device;
                      a connector to a packet based data network; and
                      a connection regulator adapted to facilitate data flow
                           between the mobile device and the packet-based data
                           network;
                  wherein said gateway is associated, with a unique identity bound, to a
           cryptographic key; and
                  a coordination center adapted to communicate with said gateway via the
           packet based data network.

           ***

           39. The system of claim 8 further comprising a plurality of gateways to the packet-
           based data network, with each respective gateway comprising:
                   a transceiver adapted to establish a radio frequency link with one or more
           mobile devices;
                   a connector to the packet-based data network;
                   a connection regulator adapted to facilitate data flow between at least one
           respective mobile device and the packet-based data network; and



                                                  - 63 -
Case 2:18-cv-00028-JRG Document 105 Filed 02/07/19 Page 64 of 74 PageID #: 3536




                wherein the coordination center is adapted, to communicate with each
        respective gateway via the packet-based data network and each respective gateway
        is associated with a respective unique identity bound to a cryptographic key.

        Plaintiff has cited disclosure in the specification that “[v]arious means may be used to

 achieve the unique identity of each add-on base station”:

        A novel feature of the base station is a unique property in each device. This unique
        property may be stored, for example, in either the call controller 54 or the billing
        processor 55.

        This unique property allows to use the base station as an add-on device. In prior art,
        each phone had an unique identity, however the base stations had no unique
        properties. Each base station in prior art was distinguished based on its fixed
        location and wiring; there were no distinguishing means in the base station itself.

        In the novel approach according to the present invention, however, there are base
        stations that are add-on units to be added to a network by various persons or firms.
        The location of each such unit is not known a priori; its very existence has to be
        announced to the network. A base station with an unique identity allows the
        network to keep track of the addition of each new base station. The unique identity
        helps manage the expanding network.

        Various means may be used to achieve the unique identity of each add-on base
        station. For example, an unique number may be stored in memory means in units
        54 or 55. Alternately, a digital document may be stored therein. A smart card with
        an unique number or document may be inserted in the base station to activate it.

 ’284 Patent at 11:6–30 (emphasis added).

        The disputed term, however, refers to a “unique identity bound to a cryptographic key”

 (not merely a “unique identity” in isolation). Defendants have cited disclosure regarding a “digital

 certificate” that binds a cryptographic key:

        Each phone, base station and the cellular center 3 may have their own digital
        certificate, which binds a cryptographic public key, with an identifier.

        The certificate may also contain information such as their phone number or identity.
        The extra information can also be included in other digitally signed digital
        documents.

        In this way the packets of voice originating from the phone, can be encrypted by
        the destination public key to the other phone, ensuring privacy. They can also (or

                                                - 64 -
Case 2:18-cv-00028-JRG Document 105 Filed 02/07/19 Page 65 of 74 PageID #: 3537




        alternatively) [be] signed by the originator’s private key, to ensure authentication
        (and possibly non-repudiation).

 ’284 Patent at 8:9–20 (emphasis added).

        This disclosure suggests that “binding” means something more than Plaintiff’s suggestion

 of merely associating. The claims reinforce this distinction by reciting both “associated” and

 “bound,” thereby implying that those terms have different meanings. See ’312 Patent at Cl. 39

 (“each respective gateway is associated with a respective unique identity bound to a cryptographic

 key”) (emphasis added); see also id. at Cl. 8 (“said gateway is associated, with a unique identity

 bound, to a cryptographic key”) (emphasis added); Innova/Pure Water, 381 F.3d at 1119 (“when

 an applicant uses different terms in a claim it is permissible to infer that he intended his choice of

 different terms to reflect a differentiation in the meaning of those terms”).

        Defendants have cited extrinsic evidence that cryptographic certificates can be issued by a

 “certificate authority”:

        While public/private key encryption works to allow the distribution of encryption
        keys across insecure networks and the use of those keys to encrypt transmissions,
        there is still a problem of knowing if the public key that you have received when
        you connected to a server is really from the organization it claims to be from.

        Perhaps you think you are connecting to www.amazon.com but a rogue computer
        intercepts your traffic, claiming to be www.amazon.com and giving you a public
        key to use for encryption. If your web browser trusts the key, it will use the rogue
        computer’s public key to encrypt your banking information and send it to the rogue
        computer. Since the rogue computer gave you the public key, it also has the
        corresponding private key and is able to decrypt and abscond with your banking
        information.

        So your computer needs to know who the key is actually coming from. This is
        achieved by sending you a public key that is digitally signed by a Certificate
        Authority (CA). When your computer or browser is initially installed, it knows
        about a number of well-known certificate authorities. If your browser is given a
        public key that is signed by one of the well-known certificate authorities, it trusts
        the key and uses it to encrypt and send your data. If your computer receives a public
        key that is not signed by one of its trusted certificate authorities, it will warn you
        before sending your data using the key.

                                                 - 65 -
Case 2:18-cv-00028-JRG Document 105 Filed 02/07/19 Page 66 of 74 PageID #: 3538




 (Dkt. No. 71, Ex. M, Charles R. Severance, Introduction to Networking: How the Internet Works

 94–95 (BARKAN-0026553–54).) At the January 29, 2019 hearing, Defendants urged that a

 certificate authority is necessary for the general public to be able to use the claimed invention as

 disclosed in the specification. Defendants have also submitted the opinions of their expert in this

 regard. (See Dkt. No. 80-13, Dec. 21, 2018 Lanning Decl., at ¶¶ 75–77.)

        Yet, the specification contains no disclosure of any certificate authority, let alone any

 disclosure that using a certificate authority is essential to the claimed invention. Thus, although

 the specification demonstrates that the disputed term uses “bound” to refer to the use of a

 certificate, Defendants have not shown any definition, disclaimer, or other evidence that would

 compel requiring a certificate authority.

        The Court therefore hereby construes “unique identity bound to a cryptographic key”

 to mean “unique identity and a cryptographic key associated with one another in a

 certificate.”

 O. “transmit recurrent updates”

  Plaintiff’s Proposed Construction                  Defendants’ Proposed Construction

  No construction necessary; plain and ordinary repeatedly send updates
  meaning applies.

 (Dkt. No. 69, Ex. B, at 11; Dkt. No. 71, at 26; Dkt. No. 80, at 27; Dkt. No. 90-1, at 16.) The parties

 submit that this term appears in all Claims of the ’638 Patent. (Dkt. No. 69, Ex. B, at 11; Dkt. No.

 90-1, at 17.)

        Shortly before the start of the January 29, 2019 hearing, the Court provided the parties with

 the following preliminary construction: “repeatedly send updates.”




                                                 - 66 -
Case 2:18-cv-00028-JRG Document 105 Filed 02/07/19 Page 67 of 74 PageID #: 3539




         (1) The Parties’ Positions

         Plaintiff argues that this term “refers to the provision by the base stations of certain

 geographical and operational-status information to a coordination center.” (Dkt. No. 71, at 27.)

 Further, Plaintiff urges that “[j]urors will readily understand what it means for an update to be

 ‘recurrent.’” (Id.) Plaintiff argues that Defendants’ proposal of “repeatedly” should be rejected

 because “the specification is clear that the recurrent updates need not occur with any frequency.”

 (Id.)

         Defendants respond that construction is appropriate to preclude Plaintiff from contending

 that this limitation could be satisfied by a single update. (Dkt. No. 80, at 27–28.)

         Plaintiff replies that Defendants’ proposal of replacing “recurrent” with “repeated” should

 be rejected because it adds nothing beyond plain meaning. (Dkt. No. 85, at 10.)

         At the January 29, 2019 hearing, Plaintiff and Defendants presented no oral arguments as

 to this term and instead rested on their briefing.

         (2) Analysis

         Plaintiff acknowledges that this term requires transmitting more than one update. (See Dkt.

 No. 71, at 27.) Defendants do not contend that their proposal requires a fixed interval between

 updates. (See Dkt. No. 80, Ex. 12, The American Heritage Dictionary of the English Language

 1462 (4th ed. 2000) (SAMSUNG-0038714) (defining “recurrent” as “occurring or appearing again

 or repeatedly”).) Defendants’ proposed construction thus reflects the agreed-upon meaning of this

 term, and construction is appropriate to expressly reject any interpretation of the term that would

 encompass transmitting only a single update.

         The Court accordingly hereby construes “transmit recurrent updates” to mean

 “repeatedly send updates.”



                                                 - 67 -
Case 2:18-cv-00028-JRG Document 105 Filed 02/07/19 Page 68 of 74 PageID #: 3540




 P. “recurrently issuing an operating license”

  Plaintiff’s Proposed Construction                   Defendants’ Proposed Construction

  No construction necessary; plain and ordinary repeatedly issuing a certificate or another
  meaning applies.                              digital document, to the effect that this
                                                phone/base station is part of my network and is
                                                in working order

 (Dkt. No. 69, Ex. B, at 12; Dkt. No. 71, at 28; Dkt. No. 80, at 28; Dkt. No. 90-1, at 17.) The parties

 submit that this term appears in all Claims of the ’638 Patent. (Dkt. No. 69, Ex. B, at 12; Dkt. No.

 90-1, at 17.)

        Shortly before the start of the January 29, 2019 hearing, the Court provided the parties with

 the following preliminary construction: “repeatedly issuing an operating license.”

        (1) The Parties’ Positions

        Plaintiff argues: “Jurors will understand what it means for a device to be licensed to

 operate. That the license issuance recurs is likewise readily understandable to a jury.” (Dkt.

 No. 71, at 28.) Plaintiff also argues that Defendants’ proposal should be rejected because “[e]ven

 if it were proper to read exemplary specification terms into the claim (it is not), Defendants’

 construction would fail because it misreads the specification.” (Id.)

        Defendants respond that “the term ‘recurrently’ requires repeated instances of conduct.”

 (Dkt. No. 80, at 28.) Defendants further argue that the specification “teaches that an ‘operating

 license’ has two characteristics: (1) it is an actual document—e.g., a ‘certificate’ or other digital

 document, and not just an abstract concept like ‘permission’; and (2) it indicates to the rest of the

 communication system that the holder of the license is permitted to access the network.” (Id.,

 at 28–29.) Defendants urge that their proposed construction “accurately captures both of these

 aspects of what an ‘operating license’ is in the context of the claims and specification.” (Id., at 29.)




                                                  - 68 -
Case 2:18-cv-00028-JRG Document 105 Filed 02/07/19 Page 69 of 74 PageID #: 3541




        Plaintiff replies that “[t]he passages [Defendants] cite define the term certificate, not

 operating license.” (Dkt. No. 85, at 10.)

        At the January 29, 2019 hearing, Plaintiff and Defendants presented no oral arguments as

 to this term and instead rested on their briefing.

        (2) Analysis

        Claim 1 of the ’638 Patent, for example, recites in relevant part (emphasis added):

        1. An add-on base station comprising:
                a transceiver adapted to establish a radio-frequency link with a mobile
        device;
                a first interface, separate from said transceiver, that is adapted for
        communication over the public Internet;
                a controller . . .
                wherein the add-on base station has transmission power lower than
        transmission power of conventional base stations and produces a cell smaller than
        macrocells of conventional base stations, and wherein the server system is adapted
        to authorize and de-authorize add-on base stations to route data to the remote
        gateway through the public Internet by recurrently issuing an operating license for
        the add-on base station.

 The specification discloses:

        The cellular center 3 can issue a certificate (an operating license) or another digital
        document, to the effect that ‘this phone/base station is part of my network and is in
        working order’ to all the devices connected thereto. The certificates may have a
        short expiration date, of 1 day for example.

        This gives the center 3 control over the phones and base stations, that may be
        disconnected at short notice.

        This allows a phone to ask the services of a base station only if it has an updated
        operating license. Similarly, a base station can verify that the phone is operating
        properly.

 ’284 Patent at 9:34–43 (emphasis added).

        Defendants’ proposal includes specific features of this particular disclosed embodiment,

 but these features should not be imported into the claims in the absence of any showing of

 lexicography or disclaimer. No such showing has been made. See, e.g., CCS Fitness, Inc. v.

                                                 - 69 -
Case 2:18-cv-00028-JRG Document 105 Filed 02/07/19 Page 70 of 74 PageID #: 3542




 Brunswick Corp., 288 F.3d 1359, 1366 (Fed. Cir. 2002) (“[T]he claim term will not receive its

 ordinary meaning if the patentee acted as his own lexicographer and clearly set forth a definition

 of the disputed claim term in either the specification or prosecution history.”) (emphasis added).

        Construction is nonetheless appropriate here, consistent with the construction of the above-

 addressed term “transmit recurrent updates,” to expressly reject any interpretation of the term that

 would encompass issuing only a single operating license.

        The Court accordingly hereby construes “recurrently issuing an operating license” to

 mean “repeatedly issuing an operating license.”

 Q. “adapted to”

  Plaintiff’s Proposed Construction                  Defendants’ Proposed Construction

  No construction necessary; plain and ordinary configured to
  meaning applies.

 (Dkt. No. 69, Ex. B, at 12; Dkt. No. 71, at 29; Dkt. No. 80, at 29; Dkt. No. 90-1, at 18.) The parties

 submit that this term appears in Claims 1, 2, and 4‒18 of the ’284 Patent, all Claims of the ’312

 Patent, and all Claims of the ’638 Patent. (Dkt. No. 69, Ex. B, at 12; Dkt. No. 90-1, at 20.)

        Shortly before the start of the January 29, 2019 hearing, the Court provided the parties with

 the following preliminary construction: “configured to.”

        (1) The Parties’ Positions

        Plaintiff submits that this term is used “to describe the operational capabilities of the

 claimed apparatuses—such as the base station controller.” (Dkt. No. 71, at 29.) Plaintiff argues

 that “[b]ecause the jury will understand what it means for the base stations to be ‘adapted to’

 achieve that operational capability, there is no need to construe the term.” (Id.) Further, Plaintiff

 argues that “[t]here is nothing in the claim language or specification limiting ‘adapted to,’ or




                                                 - 70 -
Case 2:18-cv-00028-JRG Document 105 Filed 02/07/19 Page 71 of 74 PageID #: 3543




 otherwise indicating that the term bears anything other than its plain and ordinary meaning.” (Id.,

 at 29.)

           Defendants respond by citing Federal Circuit precedents regarding “adapted” and by noting

 that Plaintiff previously alternatively proposed (in its P.R. 4-2 claim construction disclosures) that

 “adapted to” means “configured to.” (Dkt. No. 80, at 29–30.)

           Plaintiff replies that “[t]he goal of [Defendants’] word substitution is to get a narrower

 scope to exclude devices ‘capable of’ performing recited functions and include those devices

 presently ‘configured’ to perform such functions.” (Dkt. No. 85, at 10.) Plaintiff argues that

 “Defendants’ construction fails because it lacks specification support.” (Id.)

           At the January 29, 2019 hearing, the parties presented oral arguments as to this term.

           (2) Analysis

           Claim 1 of the ’284 Patent, for example, recites (emphasis added):

           1. A gateway to a packet-based data network comprising:
                   a transceiver adapted to establish a radio-frequency link with a mobile
           device;
                   a first interface adapted to facilitate data flow between the mobile device
           and the packet-based data network; and
                   a controller adapted to regulate data flow between the mobile device and
           the data network based, at least partially, on information received over the data
           network from a coordination center, which center is connected to the data network
           through a second interface.

 As another example, Claim 1 of the ’638 Patent recites in relevant part (emphasis added):

           1. An add-on base station comprising:
                   a transceiver adapted to establish a radio-frequency link with a mobile
           device;
                   a first interface, separate from said transceiver, that is adapted for
           communication over the public Internet;
                   a controller adapted to:
                       ...
                       transmit recurrent updates regarding current operating
                           parameters to a server of a server system via the public
                           Internet, wherein the current operating parameters

                                                  - 71 -
Case 2:18-cv-00028-JRG Document 105 Filed 02/07/19 Page 72 of 74 PageID #: 3544




                        include current geographical location data and the server
                        system is adapted to identify the base station based on a
                        unique property stored in a tamper-free unit of the add-
                        on base station and to track the add-on base station based
                        on the identification;
                    ...
                    wherein the add-on base station has transmission power
                        lower than transmission power of conventional base
                        stations and produces a cell smaller than macrocells of
                        conventional base stations, and wherein the server
                        system is adapted to authorize and de-authorize add-on
                        base stations to route data to the remote gateway through
                        the public Internet by recurrently issuing an operating
                        license for the add-on base station.

        Plaintiff argues that “adapted to” could be interpreted as encompassing potential

 configuration rather than only actual configuration. Plaintiff cites the decision by the Federal

 Circuit in Aspex Eyewear, particularly the statement that “[i]n common parlance, the phrase

 ‘adapted to’ is frequently used to mean ‘made to,’ ‘designed to,’ or ‘configured to,’ but it can also

 be used in a broader sense to mean ‘capable of’ or ‘suitable for.’” Aspex Eyewear, Inc. v. Marchon

 Eyewear, Inc., 672 F.3d 1335, 1349 (Fed. Cir. 2012). Plaintiff has cited no decision, however, in

 which the Federal Circuit has construed “adapted to” as encompassing mere capability, that is, the

 mere possibility of being appropriately configured.

        On balance, Plaintiff’s arguments are unpersuasive, and construction is appropriate to

 preclude an overly broad reading of “adapted to.” See Telemac Cellular Corp. v. Topp Telecom,

 Inc., 247 F.3d 1316, 1330 (Fed. Cir. 2001) (“[T]hat a device is capable of being modified to operate

 in an infringing manner is not sufficient, by itself, to support a finding of infringement.”); see also

 Aspex Eyewear, 672 F.3d at 1349 (“Amended claim 23 refers to the arms and magnetic members

 as ‘adapted to extend across respective side portions’ of a primary frame. In that context, the phrase

 ‘adapted to’ is most naturally understood to mean that the arms and magnetic members are




                                                 - 72 -
Case 2:18-cv-00028-JRG Document 105 Filed 02/07/19 Page 73 of 74 PageID #: 3545




 designed or configured to accomplish the specified objective, not simply that they can be made to

 serve that purpose.”); In re Giannelli, 739 F.3d 1375, 1379 (Fed. Cir. 2014). 19

        Plaintiff has cited Profectus Technology, LLC v. Huawei Technologies Co., Ltd., No. 6:11-

 CV-474, 2014 WL 1575719, at *8 (E.D. Tex. Apr. 17, 2014), in which the Court found that the

 phrase “adapted to” (as part of a larger disputed term) did not require construction. In Profectus,

 the parties did not dispute whether “adapted to” encompassed mere capability rather than actual

 configuration. Profectus is therefore distinguishable. Here, construction is appropriate to resolve

 the particular dispute raised by the parties in the present case.

        The Court accordingly hereby construes “adapted to” to mean “configured to.”




 V. CONCLUSION

        The Court adopts the constructions set forth in this opinion for the disputed terms of the

 patent-in-suit, and in reaching conclusions the Court has considered extrinsic evidence. The

 Court’s constructions thus include subsidiary findings of fact based upon the extrinsic evidence

 presented by the parties in these claim construction proceedings. See Teva, 135 S. Ct. at 841.

        The parties are ordered that they may not refer, directly or indirectly, to each other’s claim

 construction positions in the presence of the jury. Likewise, the parties are ordered to refrain from

 mentioning any portion of this opinion, other than the actual definitions adopted by the Court, in




 19
    Defendants are proposing the same construction that Plaintiff alternatively proposed in its
 P.R. 4-2 disclosures. (Dkt. No. 80, Ex. 11, Plaintiff’s Preliminary Claim Constructions and
 Extrinsic Evidence, at 9.) Defendants have not shown that Plaintiff is necessarily bound by this
 prior proposal, but it is nonetheless noteworthy that Plaintiff alternatively proposed “configured
 to” rather than, for example, “configurable to.”

                                                 - 73 -
Case 2:18-cv-00028-JRG Document 105 Filed 02/07/19 Page 74 of 74 PageID #: 3546




 the presence of the jury. Any reference to claim construction proceedings is limited to informing

 the jury of the definitions adopted by the Court.
          SIGNED this 3rd day of January, 2012.
         SIGNED this 7th day of February, 2019.




                                                       ____________________________________
                                                       ROY S. PAYNE
                                                       UNITED STATES MAGISTRATE JUDGE




                                              - 74 -
